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                                                      Exhibit D
                                Exhibits With Evidentiary Objections as of September 15, 2023

Ex. #   Beginning Bates                   End Bates                                Additional Information
  A     AA-23LIT-00000061                 AA-23LIT-00000061
  B     AA-23LIT-00000069                 AA-23LIT-00000105
  C     AA-23LIT-00000119                 AA-23LIT-00000119
  D     AA-23LIT-00000483                 AA-23LIT-00000503
  E     AA-NEA-00090087                   AA-NEA-00090315
  F     AA-NEA-00502253                   AA-NEA-00502254
  G     AA-NEA-00580275                   AA-NEA-00580300
  H     AA-NEA-00605081                   AA-NEA-00605081
  I     AA-NEA-00605351                   AA-NEA-00605353
  J     AA-NEA-00611192                   AA-NEA-00611193
  K     AA-NEA-00616101                   AA-NEA-00616112
  L     AA-NEA-00632392                   AA-NEA-00632394
 M      AA-NEA-00636860                   AA-NEA-00636893
  N     AA-NEA-00755583                   AA-NEA-00755637
  O     AA-NEA-01249161                   AA-NEA-01249161
  P     AA-NEA-01261765                   AA-NEA-01261769
  Q     AA-NEA-01284024                   AA-NEA-01284253
  R     AA-NEA-01313022                   AA-NEA-01313086
  S     AA-NEA-01830184                   AA-NEA-01830297
  T     AA-NEA-01950801                   AA-NEA-01950802
  U     AA-NEA-02154350                   AA-NEA-02154350
  V     AA-NEA-02158022                   AA-NEA-02158024
 W      AA-NEA-03033382                   AA-NEA-03033394
  X     AA-NEA-03095109                   AA-NEA-03095229
  Y     AA-NEA-03216360                   AA-NEA-03216370
  Z     AFA000001                         AFA000002
 AA     AFA000044                         AFA000052
 AB     ALLEGIANT_DOJ_00000883            ALLEGIANT_DOJ_00000899
 AC     ALLEGIANT_DOJ_00001007            ALLEGIANT_DOJ_00001018
 AD     ALLEGIANT_DOJLIT_00001385         ALLEGIANT_DOJLIT_00001404


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Ex. #   Beginning Bates                 End Bates                        Additional Information
 AE     ALLEGIANT_DOJLIT_00003235       ALLEGIANT_DOJLIT_00003243
 AF     ALLEGIANT_DOJLIT_00004644       ALLEGIANT_DOJLIT_00004662
 AG     ALLEGIANT_DOJLIT_00008584       ALLEGIANT_DOJLIT_00008592
 AH     ALLEGIANT_DOJLIT_00008777       ALLEGIANT_DOJLIT_00008778
 AI     AVELO_0000002                   AVELO_0000002
 AJ     AVELO-00000453                  AVELO-00000456
 AK     AVELO-00000459                  AVELO-00000463
 AL     AVELO-00002528                  AVELO-00002534
        B6NK-CM-00017945                B6NK-CM-00018755                 (Letter from A. Devlin to C. Brader Leuchten,
                                                                         March 31, 2022, including attachments with Bates
AM                                                                       numbers FRONTIER-VOL-0001165 to
                                                                         FRONTIER-VOL-0001980)

AN      B6NK-F9-00000001                B6NK-F9-00000001
AO      BC-B6NK-00000980                BC-B6NK-00000981
AP      BC-B6NK-00012259                BC-B6NK-00012268
AQ      BC-B6NK-00012909                BC-B6NK-00012909
AR      BREEZE-000001                   BREEZE-000025
AS      BREEZE-002541                   BREEZE-002640
AT      BREEZE-005755                   BREEZE-005787
AU      BREEZE-058590                   BREEZE-058622
AV      BREEZE-071260                   BREEZE-071263
AW      CAHI-CID-00004967               CAHI-CID-00004991
AX      CAHl-CID-00007469               CAHI-CID-00007529
AY      CAHl-CID-00008721               CAHI-CID-00008767
AZ      DAL-00008870                    DAL-00008870
BA      DL-B6NK_00005557                DL-B6NK_00005575
BB      DL-B6NK_00010367                DL-B6NK_00010384
BC      DL-B6NK_00014332                DL-B6NK_00014371
BD      DL-B6NK_00034428                DL-B6NK_00034436
BE      DL-B6NK_00040757                DL-B6NK_00040760
BF      DL-B6NK_00042683                DL-B6NK_00042686
BG      DL-B6NK_00044055                DL-B6NK_00044060
BH      DL-B6NK_00059258                DL-B6NK_00059259


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Ex. #   Beginning Bates                End Bates                        Additional Information
 BI     DL-B6NK_00061703               DL-B6NK_00061704
 BJ     DL-B6NK_00063692               DL-B6NK_00063693
 BK     DL-B6NK_00065752               DL-B6NK_00065753
 BL     DL-B6NK_00066146               DL-B6NK_00066147
BM      DL-B6NK_00068358               DL-B6NK_00068369
 BN     DL-B6NK_00091426               DL-B6NK_00091432
 BO     DL-B6NK_00105841               DL-B6NK_00105845
 BP     DL-B6NK_00106982               DL-B6NK_00106984
 BQ     DL-B6NK_00108036               DL-B6NK_00108039
 BR     DL-B6NK_00110169               DL-B6NK_00110169
 BS     DL-B6NK_00117688               DL-B6NK_00117692
 BT     DL-B6NK_00124919               DL-B6NK_00124945
 BU     DL-B6NK_00124997               DL-B6NK_00125014
 BV     DL-B6NK_00125027               DL-B6NK_00125027
BW      DL-B6NK_00125028               DL-B6NK_00125091
 BX     DL-B6NK_00125124               DL-B6NK_00125137
 BY     DL-B6NK_00126771               DL-B6NK_00126772
 BZ     DL-B6NK_00126949               DL-B6NK_00126950
 CA     DL-B6NK_00127612               DL-B6NK_00127620
 CB     DOT2B6NK-00020236              DOT2B6NK-00020264
 CC     FRONTIER-CID-000000054         FRONTIER-CID-000000054
 CD     FRONTIER-CID-000003807         FRONTIER-CID-000003809
 CE     FRONTIER-CID-000003940         Frontier-CID-000003952
 CF     FRONTIER-DIVCID-000145         FRONTIER-DIVCID-000145
 CG     FRONTIER-VOL-0001196           FRONTIER-VOL-0001212
 CH     FRONTIER-VOL-0001512           FRONTIER-VOL-0001538
 CI     FRONTIER-VOL-0001764           FRONTIER-VOL-0001788
 CJ     FRONTIER-VOL-0001858           FRONTIER-VOL-0001871
 CK     GOAA0001                       GOAA0002
 CL     GS-00148778                    GS-00148805
CM      JBLU_MERGER_LIT-00005705       JBLU_MERGER_LIT-00005714
 CN     JBLU_MERGER_LIT-00005713-1     JBLU_MERGER_LIT-00005713-1
 CO     JBLU_MERGER_LIT-00005715       JBLU_MERGER_LIT-00005718
 CP     JBLU_MERGER_LIT-00002909       JBLU_MERGER_LIT-00002945


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Ex. #   Beginning Bates                  End Bates                       Additional Information
 CQ     JBLU_MERGER_LIT-00008363         JBLU_MERGER_LIT-00008364
 CR     JBLU_MERGER_LIT-00016580         JBLU_MERGER_LIT-00016581
 CS     JBLU_MERGER_LIT-00024191         JBLU_MERGER_LIT-00024194
 CT     JBLU_MERGER_LIT-00025764         JBLU_MERGER_LIT-00025767
 CU     JBLU_MERGER_LIT-00027997         JBLU_MERGER_LIT-00028003
 CV     JBLU_MERGER_LIT-00048414         JBLU_MERGER_LIT-00048416
CW      JBLU_MERGER_LIT-00089661         JBLU_MERGER_LIT-00089662
 CX     JBLU_MERGER_LIT-00142573         JBLU_MERGER_LIT-00142635
 CY     JBLU_MERGER_LIT-00164193         JBLU_MERGER_LIT-00164197
 CZ     JBLU_MERGER_LIT-00178343         JBLU_MERGER_LIT-00178344
 DA     JBLU_MERGER_LIT-00210642         JBLU_MERGER_LIT-00210644
 DB     JBLU_MERGER_LIT-00261828         JBLU_MERGER_LIT-00261842
 DC     JBLU_MERGER_LIT-00269126         JBLU_MERGER_LIT-00269131
 DD     JBLU_MERGER_LIT-00273731         JBLU_MERGER_LIT-00273739
 DE     JBLU_MERGER_LIT-00274103         JBLU_MERGER_LIT-00274108
 DF     JBLU_MERGER_LIT-00312015         JBLU_MERGER_LIT-00312018
 DG     JBLU_MERGER_LIT-00490472         JBLU_MERGER_LIT-00490475
 DH     JBLU_MERGER_LIT-00523974         JBLU_MERGER_LIT-00523974
 DI     JBLU_MERGER_LIT-00535233         JBLU_MERGER_LIT-00535234
 DJ     JBLU_MERGER_LIT-00597096         JBLU_MERGER_LIT-00597097
 DK     JBLU_MERGER_LIT-00820821         JBLU_MERGER_LIT-00820836
        JBLU_MERGER_LIT-00911572; JBLU_MERGER_LIT-00911574; JBLU_MERGER_LIT-00911576; JBLU_MERGER_LIT-00911578;
        JBLU_MERGER_LIT-00911580; JBLU_MERGER_LIT-00911582; JBLU_MERGER_LIT-00911584; JBLU_MERGER_LIT-00911586;
        JBLU_MERGER_LIT-00911588; JBLU_MERGER_LIT-00911590; JBLU_MERGER_LIT-00911592; JBLU_MERGER_LIT-00911594;
        JBLU_MERGER_LIT-00911596; JBLU_MERGER_LIT-00911598; JBLU_MERGER_LIT-00911600; JBLU_MERGER_LIT-00911602;
        JBLU_MERGER_LIT-00911604; JBLU_MERGER_LIT-00911606; JBLU_MERGER_LIT-00911608; JBLU_MERGER_LIT-00911610;
        JBLU_MERGER_LIT-00911612; JBLU_MERGER_LIT-00911614; JBLU_MERGER_LIT-00911616; JBLU_MERGER_LIT-00911618;
DL      JBLU_MERGER_LIT-00911620; JBLU_MERGER_LIT-00911622; JBLU_MERGER_LIT-00911624; JBLU_MERGER_LIT-00911626;
        JBLU_MERGER_LIT-00911628; JBLU_MERGER_LIT-00911630; JBLU_MERGER_LIT-00911632; JBLU_MERGER_LIT-00911634;
        JBLU_MERGER_LIT-00911636; JBLU_MERGER_LIT-00911638; JBLU_MERGER_LIT-00911640; JBLU_MERGER_LIT-00911642;
        JBLU_MERGER_LIT-00911644; JBLU_MERGER_LIT-00911646; JBLU_MERGER_LIT-00911648; JBLU_MERGER_LIT-00911650



DM      JBLU_MERGER_LIT-00937339         JBLU_MERGER_LIT-00937368


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Ex. #   Beginning Bates                    End Bates                          Additional Information
        JBLU_MERGER_LIT-00943352 ; JBLU_MERGER_LIT-00943354 ; JBLU_MERGER_LIT-00943356 ; JBLU_MERGER_LIT-00943358
        ; JBLU_MERGER_LIT-00943360 ; JBLU_MERGER_LIT-00943362 ; JBLU_MERGER_LIT-00943364 ; JBLU_MERGER_LIT-
DN
        00943366 ; JBLU_MERGER_LIT-00943368 ; JBLU_MERGER_LIT-00943369 ; JBLU_MERGER_LIT-00943371

DO      JBLU_MERGER_LIT-01105498         JBLU_MERGER_LIT-01105499
DP      JBLU_MERGER_LIT-01112906         JBLU_MERGER_LIT-01112915
DQ      JBLU_MERGER_LIT-01155959         JBLU_MERGER_LIT-01155969
DR      JBLU_MERGER_LIT-01173531         JBLU_MERGER_LIT-01174057
DS      JBLU_MERGER_LIT-01175043         JBLU_MERGER_LIT-01175123
DT      JBLU_MERGER_LIT-01316980         JBLU_MERGER_LIT-01316981
DU      JBLU_MERGER_LIT-01401758         JBLU_MERGER_LIT-01401803
DV      JBLU_MERGER_LIT-01548886         JBLU_MERGER_LIT-01548927
DW      JBLU_MERGER_LIT-01613884         JBLU_MERGER_LIT-01613907
DX      JBLU_MERGER_LIT-01649871         JBLU_MERGER_LIT-01649880
DY      JBLU_MERGER_LIT-01649881         JBLU_MERGER_LIT-01649930
DZ      JBLU_MERGER_LIT-01709810         JBLU_MERGER_LIT-01709875
EA      JBLU_MERGER_LIT-01799335         JBLU_MERGER_LIT-01799376
EB      JBLU_MERGER_LIT-01801317         JBLU_MERGER_LIT-01801320
EC      JBLU_MERGER_LIT-01806670         JBLU_MERGER_LIT-01806798
ED      JBLU_MERGER_LIT-01834289         JBLU_MERGER_LIT-01834348
EE      JBLU_MERGER_LIT-01898433         JBLU_MERGER_LIT-01898519
EF      JBLU_MERGER_LIT-02262133         JBLU_MERGER_LIT-02262134
EG      JBLU_MERGER_LIT-02285872         JBLU_MERGER_LIT-02285919
EH      JBLU_MERGER_LIT-02304995         JBLU_MERGER_LIT-02304995
 EI     JBLU_MERGER_LIT-02673101         JBLU_MERGER_LIT-02673261
EJ      JBLU_MERGER_LIT-02708648         JBLU_MERGER_LIT-02708855
EK      JBLU_MERGER_LIT-02710803         JBLU_MERGER_LIT-02710811
EL      JBLU_MERGER_LIT-02712248         JBLU_MERGER_LIT-02712281
EM      JBLU_MERGER_LIT-02713027         JBLU_MERGER_LIT-02713028
EN      JBLU_MERGER_LIT-02713047         JBLU_MERGER_LIT-02713048
EO      JBLU_MERGER_LIT-02713131         JBLU_MERGER_LIT-02713139
EP      JBLU_MERGER_LIT-02713228         JBLU_MERGER_LIT-02713228
EQ      JBLU_MERGER_LIT-02715737         JBLU_MERGER_LIT-02715737
ER      JBLU_MERGER_LIT-02715740         JBLU_MERGER_LIT-02715740


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Ex. #   Beginning Bates                End Bates                        Additional Information
 ES     JBLU_MERGER_LIT-02718310       JBLU_MERGER_LIT-02718392
 ET     JBLU-DOJ-03310989              JBLU-DOJ-03310990
 EU     JBLU-DOJ-10556216              JBLU-DOJ-10556225
 EV     JBLU00062499                   JBLU00062500
EW      JBLU00144344                   JBLU00144389
 EX     JBLU00250497                   JBLU00250517
 EY     JBLU00679357                   JBLU00679418
 EZ     JBLU00908116                   JBLU00908129
 FA     JBLU00932818                   JBLU00932820
 FB     JBLU00942434                   JBLU00942434
 FC     JBLU00949988                   JBLU00950010
 FD     JBLU00951336                   JBLU00951338
 FE     JBLU00952930                   JBLU00952932
 FF     JBLU00952956                   JBLU00952973
 FG     JBLU01875507                   JBLU01875507
 FH     JBLU02093999                   JBLU02094001
  FI    JBLU02556093                   JBLU02556103
 FJ     JBLU-DOJ-00010327              JBLU-DOJ-00010327
 FK     JBLU-DOJ-00019414              JBLU-DOJ-00019416
 FL     JBLU-DOJ-00069879              JBLU-DOJ-00069885
 FM     JBLU-DOJ-00073661              JBLU-DOJ-00073671
 FN     JBLU-DOJ-00074275              JBLU-DOJ-00074277
 FO     JBLU-DOJ-00087849              JBLU-DOJ-00087852
 FP     JBLU-DOJ-00124566              JBLU-DOJ-00124610
 FQ     JBLU-DOJ-00134021              JBLU-DOJ-00134024
 FR     JBLU-DOJ-00142303              JBLU-DOJ-00142305
 FS     JBLU-DOJ-00214236              JBLU-DOJ-00214241
 FT     JBLU-DOJ-00253215              JBLU-DOJ-00253215
 FU     JBLU-DOJ-00273467              JBLU-DOJ-00273472
 FV     JBLU-DOJ-00279911              JBLU-DOJ-00279912
FW      JBLU-DOJ-00292381              JBLU-DOJ-00292383
 FX     JBLU-DOJ-00314649              JBLU-DOJ-00314657
 FY     JBLU-DOJ-00328474              JBLU-DOJ-00328475
 FZ     JBLU-DOJ-00341679              JBLU-DOJ-00341680


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Ex. #   Beginning Bates                 End Bates                        Additional Information
 GA     JBLU-DOJ-00367793               JBLU-DOJ-00367813
 GB     JBLU-DOJ-00374841               JBLU-DOJ-00374842
 GC     JBLU-DOJ-00405139               JBLU-DOJ-00405144
 GD     JBLU-DOJ-00417176               JBLU-DOJ-00417188
 GE     JBLU-DOJ-00469068               JBLU-DOJ-00469079
 GF     JBLU-DOJ-00471162               JBLU-DOJ-00471171
 GG     JBLU-DOJ-00482370               JBLU-DOJ-00482371
 GH     JBLU-DOJ-00483420               JBLU-DOJ-00483421
 GI     JBLU-DOJ-00493222               JBLU-DOJ-00493222
 GJ     JBLU-DOJ-00496383               JBLU-DOJ-00496386
 GK     JBLU-DOJ-00500139               JBLU-DOJ-00500152
 GL     JBLU-DOJ-00500140               JBLU-DOJ-00500152
GM      JBLU-DOJ-00508534               JBLU-DOJ-00508537
 GN     JBLU-DOJ-00546493               JBLU-DOJ-00546514
 GO     JBLU-DOJ-00548598               JBLU-DOJ-00548603
 GP     JBLU-DOJ-00554709               JBLU-DOJ-00554753
 GQ     JBLU-DOJ-00584141               JBLU-DOJ-00584145
 GR     JBLU-DOJ-00593185               JBLU-DOJ-00593190
 GS     JBLU-DOJ-00805246               JBLU-DOJ-00805263
 GT     JBLU-DOJ-00852846               JBLU-DOJ-00852848
 GU     JBLU-DOJ-00906933               JBLU-DOJ-00906933
 GV     JBLU-DOJ-00929704               JBLU-DOJ-00929706
GW      JBLU-DOJ-00951543               JBLU-DOJ-00951545
 GX     JBLU-DOJ-00952813               JBLU-DOJ-00952817
 GY     JBLU-DOJ-01012979               JBLU-DOJ-01012981
 GZ     JBLU-DOJ-01023216               JBLU-DOJ-01023220
 HA     JBLU-DOJ-01026713               JBLU-DOJ-01026715
 HB     JBLU-DOJ-01026994               JBLU-DOJ-01026998
 HC     JBLU-DOJ-01067190               JBLU-DOJ-01067193
 HD     JBLU-DOJ-01108044               JBLU-DOJ-01108047
 HE     JBLU-DOJ-01184227               JBLU-DOJ-01184227
 HF     JBLU-DOJ-01184406               JBLU-DOJ-01184406
 HG     JBLU-DOJ-01184685               JBLU-DOJ-01184685
 HH     JBLU-DOJ-01191686               JBLU-DOJ-01191686


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Ex. #   Beginning Bates                 End Bates                        Additional Information
 HI     JBLU-DOJ-01272257               JBLU-DOJ-01272257
 HJ     JBLU-DOJ-01304620               JBLU-DOJ-01304621
 HK     JBLU-DOJ-01309123               JBLU-DOJ-01309146
 HL     JBLU-DOJ-01622311               JBLU-DOJ-01622340
HM      JBLU-DOJ-01622322               JBLU-DOJ-01622340
 HN     JBLU-DOJ-02225353               JBLU-DOJ-02225355
 HO     JBLU-DOJ-02434218               JBLU-DOJ-02434220
 HP     JBLU-DOJ-02491751               JBLU-DOJ-02491754
 HQ     JBLU-DOJ-02511954               JBLU-DOJ-02511954
 HR     JBLU-DOJ-02524740               JBLU-DOJ-02524740
 HS     JBLU-DOJ-02531852               JBLU-DOJ-02531853
 HT     JBLU-DOJ-02552625               JBLU-DOJ-02552627
 HU     JBLU-DOJ-02572460               JBLU-DOJ-02572462
 HV     JBLU-DOJ-02586644               JBLU-DOJ-02586646
HW      JBLU-DOJ-02604781               JBLU-DOJ-02604784
 HX     JBLU-DOJ-02614653               JBLU-DOJ-02614657
 HY     JBLU-DOJ-02622443               JBLU-DOJ-02622443
 HZ     JBLU-DOJ-02642804               JBLU-DOJ-02642805
 IA     JBLU-DOJ-02647651               JBLU-DOJ-02647651
 IB     JBLU-DOJ-02648796               JBLU-DOJ-02648797
 IC     JBLU-DOJ-02658295               JBLU-DOJ-02658296
 ID     JBLU-DOJ-02660788               JBLU-DOJ-02660791
 IE     JBLU-DOJ-02664834               JBLU-DOJ-02664835
 IF     JBLU-DOJ-02689728               JBLU-DOJ-02689731
 IG     JBLU-DOJ-02701193               JBLU-DOJ-02701203
 IH     JBLU-DOJ-02744662               JBLU-DOJ-02744672
  II    JBLU-DOJ-02753191               JBLU-DOJ-02753201
  IJ    JBLU-DOJ-02761778               JBLU-DOJ-02761780
 IK     JBLU-DOJ-02772717               JBLU-DOJ-02772718
 IL     JBLU-DOJ-02774393               JBLU-DOJ-02774401
 IM     JBLU-DOJ-02775305               JBLU-DOJ-02775313
 IN     JBLU-DOJ-02777145               JBLU-DOJ-02777147
 IO     JBLU-DOJ-02779006               JBLU-DOJ-02779007
 IP     JBLU-DOJ-02783182               JBLU-DOJ-02783183


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Ex. #   Beginning Bates                 End Bates                        Additional Information
 IQ     JBLU-DOJ-02785039               JBLU-DOJ-02785039
 IR     JBLU-DOJ-02787292               JBLU-DOJ-02787294
  IS    JBLU-DOJ-02787426               JBLU-DOJ-02787430
 IT     JBLU-DOJ-02788649               JBLU-DOJ-02788650
 IU     JBLU-DOJ-02790050               JBLU-DOJ-02790051
 IV     JBLU-DOJ-02794551               JBLU-DOJ-02794571
 IW     JBLU-DOJ-02802318               JBLU-DOJ-02802320
 IX     JBLU-DOJ-02809064               JBLU-DOJ-02809064
 IY     JBLU-DOJ-02810803               JBLU-DOJ-02810808
 IZ     JBLU-DOJ-02811301               JBLU-DOJ-02811302
 JA     JBLU-DOJ-02820579               JBLU-DOJ-02820579
 JB     JBLU-DOJ-02832200               JBLU-DOJ-02832201
 JC     JBLU-DOJ-02833003               JBLU-DOJ-02833005
 JD     JBLU-DOJ-02844141               JBLU-DOJ-02844153
 JE     JBLU-DOJ-02844389               JBLU-DOJ-02844393
 JF     JBLU-DOJ-02848788               JBLU-DOJ-02848789
 JG     JBLU-DOJ-02853037               JBLU-DOJ-02853044
 JH     JBLU-DOJ-02856990               JBLU-DOJ-02856991
  JI    JBLU-DOJ-02857037               JBLU-DOJ-02857050
  JJ    JBLU-DOJ-02861172               JBLU-DOJ-02861173
 JK     JBLU-DOJ-02865038               JBLU-DOJ-02865039
 JL     JBLU-DOJ-02866124               JBLU-DOJ-02866125
 JM     JBLU-DOJ-02870559               JBLU-DOJ-02870569
 JN     JBLU-DOJ-02870653               JBLU-DOJ-02870654
 JO     JBLU-DOJ-02874014               JBLU-DOJ-02874031
 JP     JBLU-DOJ-02876302               JBLU-DOJ-02876302
 JQ     JBLU-DOJ-02881614               JBLU-DOJ-02881616
 JR     JBLU-DOJ-02897331               JBLU-DOJ-02897331
 JS     JBLU-DOJ-02908256               JBLU-DOJ-02908256
 JT     JBLU-DOJ-02924496               JBLU-DOJ-02924508
 JU     JBLU-DOJ-02924558               JBLU-DOJ-02924559
 JV     JBLU-DOJ-02925628               JBLU-DOJ-02925636
 JW     JBLU-DOJ-02938015               JBLU-DOJ-02938017
 JX     JBLU-DOJ-02953551               JBLU-DOJ-02953555


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                     Case 1:23-cv-10511-WGY Document 191-4 Filed 09/15/23 Page 10 of 60


Ex. #   Beginning Bates                 End Bates                       Additional Information
 JY     JBLU-DOJ-03041353               JBLU-DOJ-03041359
 JZ     JBLU-DOJ-03042178               JBLU-DOJ-03042184
 KA     JBLU-DOJ-03084527               JBLU-DOJ-03084527
 KB     JBLU-DOJ-03084530               JBLU-DOJ-03084530
 KC     JBLU-DOJ-03084538               JBLU-DOJ-03084538
 KD     JBLU-DOJ-03084539               JBLU-DOJ-03084539
 KE     JBLU-DOJ-03084540               JBLU-DOJ-03084540
 KF     JBLU-DOJ-03084542               JBLU-DOJ-03084542
 KG     JBLU-DOJ-03084543               JBLU-DOJ-03084543
 KH     JBLU-DOJ-03084557               JBLU-DOJ-03084557
 KI     JBLU-DOJ-03084561               JBLU-DOJ-03084561
 KJ     JBLU-DOJ-03084563               JBLU-DOJ-03084563
 KK     JBLU-DOJ-03084779               JBLU-DOJ-03084779
 KL     JBLU-DOJ-03093647               JBLU-DOJ-03093647
KM      JBLU-DOJ-03097514               JBLU-DOJ-03097514
 KN     JBLU-DOJ-03303838               JBLU-DOJ-03303840
 KO     JBLU-DOJ-03333659               JBLU-DOJ-03333662
 KP     JBLU-DOJ-03402441               JBLU-DOJ-03402442
 KQ     JBLU-DOJ-03464806               JBLU-DOJ-03464916
 KR     JBLU-DOJ-03472584               JBLU-DOJ-03472586
 KS     JBLU-DOJ-03480806               JBLU-DOJ-03480809
 KT     JBLU-DOJ-03482462               JBLU-DOJ-03482463
 KU     JBLU-DOJ-03483334               JBLU-DOJ-03483334
 KV     JBLU-DOJ-03484075               JBLU-DOJ-03484079
KW      JBLU-DOJ-03486371               JBLU-DOJ-03486373
 KX     JBLU-DOJ-03487443               JBLU-DOJ-03487452
 KY     JBLU-DOJ-03490625               JBLU-DOJ-03490631
 KZ     JBLU-DOJ-03492264               JBLU-DOJ-03492266
 LA     JBLU-DOJ-03562427               JBLU-DOJ003562436
 LB     JBLU-DOJ-03587295               JBLU-DOJ-03587295
 LC     JBLU-DOJ-03633364               JBLU-DOJ-03633365
 LD     JBLU-DOJ-03640702               JBLU-DOJ-03640704
 LE     JBLU-DOJ-03953814               JBLU-DOJ-03953842
 LF     JBLU-DOJ-04137978               JBLU-DOJ-04137979


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Ex. #   Beginning Bates                 End Bates                       Additional Information
 LG     JBLU-DOJ-04157702               JBLU-DOJ-04157702
 LH     JBLU-DOJ-04179532               JBLU-DOJ-04179554
 LI     JBLU-DOJ-04188231               JBLU-DOJ-04188260
 LJ     JBLU-DOJ-04189368               JBLU-DOJ-04189397
 LK     JBLU-DOJ-04194562               JBLU-DOJ-04194566
 LL     JBLU-DOJ-04194816               JBLU-DOJ-04194880
LM      JBLU-DOJ-04196403               JBLU-DOJ-04196416
 LN     JBLU-DOJ-04201573               JBLU-DOJ-04201609
 LO     JBLU-DOJ-04205851               JBLU-DOJ-04205891
 LP     JBLU-DOJ-04206120               JBLU-DOJ-04206170
 LQ     JBLU-DOJ-04212398               JBLU-DOJ-04212406
 LR     JBLU-DOJ-04219657               JBLU-DOJ-04219674
 LS     JBLU-DOJ-04230657               JBLU-DOJ-04230657
 LT     JBLU-DOJ-04244334               JBLU-DOJ-04244344
 LU     JBLU-DOJ-04244497               JBLU-DOJ-04244574
 LV     JBLU-DOJ-04259273               JBLU-DOJ-04259289
LW      JBLU-DOJ-04260136               JBLU-DOJ-04260151
 LX     JBLU-DOJ-04260597               JBLU-DOJ-04260603
 LY     JBLU-DOJ-04265052               JBLU-DOJ-04265056
 LZ     JBLU-DOJ-04267338               JBLU-DOJ-04267368
MA      JBLU-DOJ-04267864               JBLU-DOJ-04267889
MB      JBLU-DOJ-04323226               JBLU-DOJ-04323231
MC      JBLU-DOJ-04324753               JBLU-DOJ-04324813
MD      JBLU-DOJ-04327201               JBLU-DOJ-04327230
ME      JBLU-DOJ-04342338               JBLU-DOJ-04342354
 MF     JBLU-DOJ-04618550               JBLU-DOJ-04618563
MG      JBLU-DOJ-04645200               JBLU-DOJ-04645293
MH      JBLU-DOJ-04650651               JBLU-DOJ-04650657
 MI     JBLU-DOJ-04906060               JBLU-DOJ-04906074




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Ex. #   Beginning Bates                       End Bates                             Additional Information
        JBLU-DOJ-04910901 ; JBLU-DOJ-04910903 ; JBLU-DOJ-04910905 ; JBLU-DOJ-04910907 ; JBLU-DOJ-04910909 ; JBLU-DOJ-
        04910911 ; JBLU-DOJ-04910913 ; JBLU-DOJ-04910915 ; JBLU-DOJ-04910917 ; JBLU-DOJ-04910923 ; JBLU-DOJ-04910939 ; JBLU-
        DOJ-04910945 ; JBLU-DOJ-04910947 ; JBLU-DOJ-04910955 ; JBLU-DOJ-04910963 ; JBLU-DOJ-04910965 ; JBLU-DOJ-04910967 ;
 MJ     JBLU-DOJ-04910971 ; JBLU-DOJ-04910973 ; JBLU-DOJ-04910975 ; JBLU-DOJ-04910977 ; JBLU-DOJ-04910979 ; JBLU-DOJ-
        04910981 ; JBLU-DOJ-04910983 ; JBLU-DOJ-04910987 ; JBLU-DOJ-04910989 ; JBLU-DOJ-04910991 ; JBLU-DOJ-04910993 ; JBLU-
        DOJ-04910995
        JBLU-DOJ-04953928 ; JBLU-DOJ-04953933 ; JBLU-DOJ-04953938 ; JBLU-DOJ-04953943 ; JBLU-DOJ-04953948 ; JBLU-DOJ-
        04953953 ; JBLU-DOJ-04953958 ; JBLU-DOJ-04953963 ; JBLU-DOJ-04953968 ; JBLU-DOJ-04953973 ; JBLU-DOJ-04953978 ; JBLU-
        DOJ-04953979 ; JBLU-DOJ-04953988 ; JBLU-DOJ-04953993 ; JBLU-DOJ-04953998 ; JBLU-DOJ-04954005 ; JBLU-DOJ-04954008 ;
MK      JBLU-DOJ-04954013



        JBLU-DOJ-05162246 ; JBLU-DOJ-05162255 ; JBLU-DOJ-05162264 ; JBLU-DOJ-05162273 ; JBLU-DOJ-05162282 ; JBLU-DOJ-
        05162295; JBLU-DOJ-05162304 ; JBLU-DOJ-05162309 ; JBLU-DOJ-05162318 ; JBLU-DOJ-05162327 ; JBLU-DOJ-05162336 ; JBLU-
        DOJ-05162345 ; JBLU-DOJ-05162354 ; JBLU-DOJ-05162363 ; JBLU-DOJ-05162372
ML



        JBLU-DOJ-05184248; JBLU-DOJ-05184256; JBLU-DOJ-05184264; JBLU-DOJ-05184272; JBLU-DOJ-05184280; JBLU-DOJ-05184288;
        JBLU-DOJ-05184296; JBLU-DOJ-05184304; JBLU-DOJ-05184312; JBLU-DOJ-05184320; JBLU-DOJ-05184328; JBLU-DOJ-05184336;
        JBLU-DOJ-05184344; JBLU-DOJ-05184352; JBLU-DOJ-05184360; JBLU-DOJ-05184368; JBLU-DOJ-05184376; JBLU-DOJ-05184384;
        JBLU-DOJ-05184392; JBLU-DOJ-05184400; JBLU-DOJ-05184408; JBLU-DOJ-05184416; JBLU-DOJ-05184424; JBLU-DOJ-05184432;
MM      JBLU-DOJ-05184440; JBLU-DOJ-05184448; JBLU-DOJ-05184456; JBLU-DOJ-05184464; JBLU-DOJ-05184472; JBLU-DOJ-05184480;
        JBLU-DOJ-05184488; JBLU-DOJ-05184496; JBLU-DOJ-05184504; JBLU-DOJ-05184512; JBLU-DOJ-05184520; JBLU-DOJ-05184528;
        JBLU-DOJ-05184536; JBLU-DOJ-05184544; JBLU-DOJ-05184552; JBLU-DOJ-05184560

MN      JBLU-DOJ-05258135                    JBLU-DOJ-05258146
MO      JBLU-DOJ-05262985                    JBLU-DOJ-05262989
MP      JBLU-DOJ-05266675                    JBLU-DOJ-05266680
MQ      JBLU-DOJ-05275388                    JBLU-DOJ-05275461
MR      JBLU-DOJ-05291677                    JBLU-DOJ-05291679
MS      JBLU-DOJ-05305856                    JBLU-DOJ-05305859
MT      JBLU-DOJ-05311826                    JBLU-DOJ-05311826
MU      JBLU-DOJ-05313774                    JBLU-DOJ-05313785


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Ex. #   Beginning Bates                 End Bates                       Additional Information
MV      JBLU-DOJ-05316383               JBLU-DOJ-05316510
MW      JBLU-DOJ-05554259               JBLU-DOJ-05554324
MX      JBLU-DOJ-05585963               JBLU-DOJ-05586074
MY      JBLU-DOJ-05606354               JBLU-DOJ-05606357
MZ      JBLU-DOJ-05610244               JBLU-DOJ-05610246
 NA     JBLU-DOJ-05615673               JBLU-DOJ-05615679
 NB     JBLU-DOJ-05688958               JBLU-DOJ-05688960
 NC     JBLU-DOJ-05738309               JBLU-DOJ-05738311
 ND     JBLU-DOJ-05756588               JBLU-DOJ-05756619
 NE     JBLU-DOJ-05761931               JBLU-DOJ-05761934
 NF     JBLU-DOJ-05807648               JBLU-DOJ-05807651
 NG     JBLU-DOJ-05815880               JBLU-DOJ-05816076
 NH     JBLU-DOJ-06084213               JBLU-DOJ-06084231
 NI     JBLU-DOJ-06098922               JBLU-DOJ-06098995
 NJ     JBLU-DOJ-06159364               JBLU-DOJ-06159415
 NK     JBLU-DOJ-06183756               JBLU-DOJ-06183770
 NL     JBLU-DOJ-06184235               JBLU-DOJ-06184236
NM      JBLU-DOJ-06193376               JBLU-DOJ-06193391
 NN     JBLU-DOJ-06199719               JBLU-DOJ-06199842
 NO     JBLU-DOJ-06234831               JBLU-DOJ-06234879
 NP     JBLU-DOJ-06254228               JBLU-DOJ-06254256
 NQ     JBLU-DOJ-06285829               JBLU-DOJ-06285832
 NR     JBLU-DOJ-06289847               JBLU-DOJ-06289847
 NS     JBLU-DOJ-06323142               JBLU-DOJ-06323142
 NT     JBLU-DOJ-06336699               JBLU-DOJ-06336700
 NU     JBLU-DOJ-06350548               JBLU-DOJ-06350701
 NV     JBLU-DOJ-06497356               JBLU-DOJ-06497507
NW      JBLU-DOJ-06539381               JBLU-DOJ-06539384
 NX     JBLU-DOJ-06545534               JBLU-DOJ-06545537
 NY     JBLU-DOJ-06547569               JBLU-DOJ-06547572
 NZ     JBLU-DOJ-06560821               JBLU-DOJ-06560822
 OA     JBLU-DOJ-06791645               JBLU-DOJ-06791646
 OB     JBLU-DOJ-06992030               JBLU-DOJ-06992071
 OC     JBLU-DOJ-07061666               JBLU-DOJ-07061668


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Ex. #   Beginning Bates                 End Bates                       Additional Information
 OD     JBLU-DOJ-07063277               JBLU-DOJ-07063293
 OE     JBLU-DOJ-07150515               JBLU-DOJ-07150520
 OF     JBLU-DOJ-07221705               JBLU-DOJ-07221728
 OG     JBLU-DOJ-07293825               JBLU-DOJ-07293825
 OH     JBLU-DOJ-07295179               JBLU-DOJ-07295261
 OI     JBLU-DOJ-07311757               JBLU-DOJ-07313758
 OJ     JBLU-DOJ-07326748               JBLU-DOJ-07326752
 OK     JBLU-DOJ-07390299               JBLU-DOJ-07390302
 OL     JBLU-DOJ-07446696               JBLU-DOJ-07446764
OM      JBLU-DOJ-07457371               JBLU-DOJ-07457380
 ON     JBLU-DOJ-07474542               JBLU-DOJ-07474546
 OO     JBLU-DOJ-07481232               JBLU-DOJ-07481245
 OP     JBLU-DOJ-07483872               JBLU-DOJ-07483901
 OQ     JBLU-DOJ-07573440               JBLU-DOJ-07573457
 OR     JBLU-DOJ-07641721               JBLU-DOJ-07641789
 OS     JBLU-DOJ-07743667               JBLU-DOJ-07743713
 OT     JBLU-DOJ-07888011               JBLU-DOJ-07888150
 OU     JBLU-DOJ-07965212               JBLU-DOJ-07965212
 OV     JBLU-DOJ-08423511               JBLU-DOJ-08423563
OW      JBLU-DOJ-08558838               JBLU-DOJ-08558867
 OX     JBLU-DOJ-08683658               JBLU-DOJ-08683681
 OY     JBLU-DOJ-08706080               JBLU-DOJ-08706162
 OZ     JBLU-DOJ-08767625               JBLU-DOJ-08767942
 PA     JBLU-DOJ-08770201               JBLU-DOJ-08770321
 PB     JBLU-DOJ-08779576               JBLU-DOJ-08779767
 PC     JBLU-DOJ-08831244               JBLU-DOJ-08831267
 PD     JBLU-DOJ-08835951               JBLU-DOJ-08835986
 PE     JBLU-DOJ-08883216               JBLU-DOJ-08883250
 PF     JBLU-DOJ-08914699               JBLU-DOJ-08914743
 PG     JBLU-DOJ-08952380               JBLU-DOJ-08952382
 PH     JBLU-DOJ-09121615               JBLU-DOJ-09121736
 PI     JBLU-DOJ-09235945                JBLU-DOJ-09236084
 PJ     JBLU-DOJ-09308962               JBLU-DOJ-09309219
 PK     JBLU-DOJ-09546821               JBLU-DOJ-09546993


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Ex. #   Beginning Bates                 End Bates                       Additional Information
 PL     JBLU-DOJ-09709614               JBLU-DOJ-09709649
 PM     JBLU-DOJ-09740390               JBLU-DOJ-09740446
 PN     JBLU-DOJ-09822967               JBLU-DOJ-09823056
 PO     JBLU-DOJ-09825709               JBLU-DOJ-09825818
 PP     JBLU-DOJ-09827498               JBLU-DOJ-09827590
 PQ     JBLU-DOJ-09857259               JBLU-DOJ-09857323
 PR     JBLU-DOJ-09929607               JBLU-DOJ-09929754
 PS     JBLU-DOJ-09976407               JBLU-DOJ-09976557
 PT     JBLU-DOJ-09977221               JBLU-DOJ-09977254
 PU     JBLU-DOJ-09977231               JBLU-DOJ-09977254
 PV     JBLU-DOJ-10015513               JBLU-DOJ-10015546
PW      JBLU-DOJ-10084050               JBLU-DOJ-10084051
 PX     JBLU-DOJ-10084985               JBLU-DOJ-10084989
 PY     JBLU-DOJ-10125774               JBLU-DOJ-10125816
 PZ     JBLU-DOJ-10173636               JBLU-DOJ-10173678
 QA     JBLU-DOJ-10174135               JBLU-DOJ-10174176
 QB     JBLU-DOJ-10190741               JBLU-DOJ-10190805
 QC     JBLU-DOJ-10389361               JBLU-DOJ-10389361
 QD     JBLU-DOJ-10392355               JBLU-DOJ-10392355
 QE     JBLU-DOJ-10410264               JBLU-DOJ-10410269
 QF     JBLU-DOJ-10441784               JBLU-DOJ-10441784
 QG     JBLU-DOJ-10450910               JBLU-DOJ-10450913
 QH     JBLU-DOJ-10595452               JBLU-DOJ-10595485
 QI     JBLU-DOJ-10617739               JBLU-DOJ-10617741_0048
 QJ     JBLU-DOJ-10685322               JBLU-DOJ-10685325
 QK     JBLU-DOJ-10784286               JBLU-DOJ-10784296
 QL     JBLU-DOJ-10794872               JBLU-DOJ-10794873
QM      JBLU-DOJ-10802803               JBLU-DOJ-10802809
 QN     JBLU-DOJ-10802987               JBLU-DOJ-10802995
 QO     JBLU-DOJ-10840850               JBLU-DOJ-10840850
 QP     JBLU-DOJ-10893695               JBLU-DOJ-10893718
 QQ     JBLU-DOJ-10898200               JBLU-DOJ-10898213
 QR     JBLU-DOJ-10898365               JBLU-DOJ-10898366
 QS     JBLU-DOJ-10902124               JBLU-DOJ-10902127


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Ex. #   Beginning Bates                 End Bates                       Additional Information
 QT     JBLU-DOJ-10902503               JBLU-DOJ-10902504
 QU     JBLU-DOJ-10903003               JBLU-DOJ-10903005
 QV     JBLU-DOJ-10903626               JBLU-DOJ-10903632
QW      JBLU-DOJ-10903633               JBLU-DOJ-10903636
 QX     JBLU-DOJ-10903988               JBLU-DOJ-10903992
 QY     JBLU-DOJ-10973090               JBLU-DOJ-10973123
 QZ     JBLU-DOJ-10998001               JBLU-DOJ-10998001
 RA     JBLU-DOJ-11052386               JBLU-DOJ-11052415
 RB     JBLU-DOJ-11052716               JBLU-DOJ-11052742
 RC     JBLU-DOJ-11085920               JBLU-DOJ-11086022
 RD     JBLU-DOJ-11175728               JBLU-DOJ-11175732
 RE     JBLU-DOJ-11383958               JBLU-DOJ-11383962
 RF     JBLU-DOJ-11401258               JBLU-DOJ-11401260
 RG     JBLU-DOJ-11461875               JBLU-DOJ-11461886
 RH     JBLU-DOJ-11470367               JBLU-DOJ-11470375
 RI     JBLU-DOJ-11477063               JBLU-DOJ-11477064
 RJ     JBLU-DOJ-11489127               JBLU-DOJ-11489136
 RK     JBLU-DOJ-11504447               JBLU-DOJ-11504482
 RL     JBLU-DOJ-11572960               JBLU-DOJ-11572960
RM      JBLU-DOJ-11788912               JBLU-DOJ-11788912
 RN     JBLU-DOJ-11809687               JBLU-DOJ-11809689
 RO     JBLU-DOJ-11851381               JBLU-DOJ-11851405
 RP     JBLU-DOJ-11861483               JBLU-DOJ-11861522
 RQ     JBLU-DOJ-11944108               JBLU-DOJ-11944114
 RR     JBLU-DOJ-11950480               JBLU-DOJ-11950496
 RS     JBLU-DOJ-11950491               JBLU-DOJ-11950496
 RT     JBLU-DOJ-11965932               JBLU-DOJ-11965984
 RU     JBLU-DOJ-11965985               JBLU-DOJ-11966029
 RV     JBLU-DOJ-11966368               JBLU-DOJ-11966417
RW      JBLU-DOJ-11966762               JBLU-DOJ-11966777
 RX     JBLU-LIT-00937082               JBLU-LIT-00937127
 RY     JBLU-LIT-01767342               JBLU-LIT-01767370
 RZ     JBLU-LIT-02113531               JBLU-LIT-02113591
 SA     JBLU-LIT-02827598               JBLU-LIT-02827642


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Ex. #   Beginning Bates                               End Bates                                    Additional Information
 SB     JBLU-LIT-02843861                             JBLU-LIT-02843861
 SC     JBLU-LIT-03659174                             JBLU-LIT-03659176
 SD     JBLU-LIT-03882198                             JBLU-LIT-03882346
 SE     JBLU-LIT-04305098                             JBLU-LIT-04305105
 SF     JBLU-LIT-04346231                             JBLU-LIT-04346236
 SG     JBLU-LIT-04405031                             JBLU-LIT-04405206
 SH     MP_02656                                      MP_02658
 SI     MP_02797                                      MP_02850
 SJ     Demonstrative used as Exhibit 9 of the Claire Roeschke Deposition (June 27, 2023), based on JBLU-DOJ-11809689
 SK     Spirit Airlines First Quarter 2022 Earnings Call Transcript, May 5, 2022
 SL     Spirit Airlines Earnings Call Transcript, May 5, 2022
        Complaint of Spirit Airlines, Inc. For Investigation of the Joint Venture Agreements announced by American Airlines and JetBlue Before
SM
        The Department of Transportation, Washington, D.C., January 7, 2021
 SN     Final Order, United States v. Airline Tariff Publishing Company et. al., Civil Action No. 92-2854 SSH (D.D.C., August 10, 1994)
        Spirit Airlines, Inc., SEC Filing Schedule 14A, Amendment 19, "Ted Christie "Mad Money" Interview Transcript 6.28.22", dated 6/29/2022,
 SO
        https://d18rn0p25nwr6d.cloudfront.net/CIK-0001498710/e5df36f9-4b18-4877-9658-2e788c94c5af.html
 SP     Audio recording of Spirit Airlines First Quarter 2022 Earnings Call, May 5, 2022
 SQ     Audio recording of Spirit Airlines Special Call Transcript, May 23, 2022
 SR     Expert Report of Tasneem Chipty, Ph.D, dated July 6, 2023 (as amended on July 31, 2023)
        Yahoo Finance Article, https://news.yahoo.com/frontier-airlines-ceo-jetblue-buying-spirit-210756805.html, "Frontier Airlines CEO: JetBlue
 SS
        buying Spirit could lead to 40% ticket price inflation", dated July 28, 2022
        CNBC News Release, "Squawk Box" Transcript, https://www.cnbc.com/2022/05/19/cnbc-exclusive-cnbc-excerpts-spirit-airlines-ceo-ted-
 ST
        christie-speaks-with-cnbcs-squawk-box-today.html, dated May 19, 2022
 SU     Yahoo Finance Live Transcript, https://news.yahoo.com/spirit-airlines-ceo-jetblue-posturing-151314851.html, dated June 29, 2022
        CNBC News Release, "Power Lunch" Transcript, https://www.cnbc.com/2022/05/16/cnbc-exclusive-cnbc-transcript-spirit-airlines-ceo-ted-
 SV
        christie-speaks-with-cnbcs-phil-lebeau-on-power-lunch-today.html, dated May 16, 2022
SW      Amended Expert Report of Gautam Gowrisankaran, Ph.D, dated July 7, 2023
SX      S&P Global Market Intelligence document titled "Spirit Airlines, Inc. NYSE:SAVE Special Call" from May 23, 2022
        Federal Aviation Administration Webpage titled
 SY     https://www.faa.gov/about/office_org/headquarters_offices/ato/service_units/systemops/perf_analysis/slot_administration/slot_administratio
        n_schedule_facilitation/level-2-airports, "Slot Administration - U.S. Level 2 Airports"
        Final Judgment and Order Entering Permanent Injunction, United States v. American Airlines Group Inc. and JetBlue Airways Corp., No.
 SZ
        1:21-cv-11558-LTS (D. Mass.)



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Ex. #   Beginning Bates                                End Bates                                   Additional Information
        Findings of Fact and Conclusions of Law, United States v. American Airlines Group Inc. and JetBlue Airways Corp., No. 1:21-cv-11558-
TA
        LTS (D. Mass. May 19, 2023)
        Spirit Airlines, Inc. SEC Schedule 14A, https://d18rn0p25nwr6d.cloudfront.net/CIK-0001498710/291f978d-04c3-4eff-bd20-
 TB
        b2877fad5003.html, Letter from H. McIntrye Gardner to shareholders, dated 6/2/2022
        Frontier Group Holdings, Inc., SEC Rule 425 Filing, https://ir.flyfrontier.com/node/7981/html, "Transcript from a session at the Wolfe
 TC     Global Transportation and Industrials Conference is being filed in connection with the proposed business combination of Spirit Airlines, Inc.
        (“Spirit”) and Frontier Group Holdings, Inc. (“Frontier”)", dated 5/26/2022
        Spirit Airlines, Inc. SEC 425 Filing, https://d18rn0p25nwr6d.cloudfront.net/CIK-0001498710/4e135f88-5716-4258-b978-
TD
        3fc05fbb5068.html, Presentation "Spirit + Fronter: Creating America's Most Competitive Ultra-Low Fare Airline" dated 5/25/2022
        Spirit Airlines, Inc. SEC 425 Filing, https://d18rn0p25nwr6d.cloudfront.net/CIK-0001498710/07b80d01-dd92-4e4d-a0c3-
 TE     70f0064a252d.html, "Spirit Airlines - Discussion of Board of Directors' Decision to Reject JetBlue Unsolicited Tender Offer", dated
        5/23/2022
        Spirit Airlines, Inc., SEC 425 Filing,https://d18rn0p25nwr6d.cloudfront.net/CIK-0001498710/b2241a86-818c-41ea-bbc9-
 TF
        d3b48d3a96a3.html, Presentation "Creating America's Most Compeititve Ultra-Low Fare Airline" dated 5/23/2022
        Frontier Airlines News Release, https://ir.flyfrontier.com/news-releases/news-release-details/setting-record-straight-jetblues-antitrust-
TG
        arguments, "Setting the record straight on JetBlue's Antitrust Arguments", dated 6/28/2022
TH      Spirit Airlines First Quarter 2023 Earnings Call Transcript, April 27, 2023
TI      CID Deposition Transcript, Robin Hayes (Jan. 24, 2023)
TJ      Audio recording of Spirit Airlines First Quarter 2023 Earnings Call, April 27, 2023
TK      Exhibit 15A to the Deposition of Mark Gale (June 14, 2023)
TL      Exhibit 15H to the Deposition of Mark Gale (June 14, 2023)
TM      Exhibit 15L to the Deposition of Mark Gale (June 14, 2023)
TN      Exhibit 15M to the Deposition of Mark Gale (June 14, 2023)
TO      Frontier Airlines First Quarter 2023 Earnings Call Transcript, May 3, 2023
TP      JetBlue Airways Second Quarter 2023 Earnings Call Transcript, August 1, 2023
TQ      JetBlue Airways First Quarter 2023 Earnings Call Transcript, April 25, 2023
TR      Spirit Airlines JP Morgan Industrials Conference Transcript, March 14, 2023
TS      Spirit Airlines JP Morgan Industrials Conference Presentation, March 14, 2023
TT      Spirit Airlines Fourth Quarter 2022 Earnings Call Transcript, February 7, 2023
TU      JetBlue Airways Fourth Quarter 2022 Earnings Call Transcript, January 26, 2023
TV      Spirit Airlines Third Quarter 2022 Earnings Call Transcript, October 27, 2022
TW      JetBlue Airways Third Quarter 2022 Earnings Call Transcript, October 25, 2022
TX      Spirit Airlines Second Quarter 2022 Earnings Call Transcript, August 10, 2022
TY      JetBlue Airways Second Quarter 2022 Earnings Call Transcript, August 2, 2022


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Ex. #   Beginning Bates                              End Bates                                     Additional Information
 TZ     Spirit Airlines Second Quarter 2023 Earnings Call Transcript, August 3, 2023
        Spirit Document titled "Response of Spirit Airlines, Inc. to U.S. Department of Justice Request for Additional Information and Documentary
UA
        Material Issued on September 12, 2022, DOJ File No. HSR-2022-2842," December 12, 2022
UB      Letter from T. Williams to J. DiMarco re: Civil Investigative Demand to Sun Country Airlines (Nov. 28, 2022)
        Transport Workers Union of America, AFL-CIO Letter dated February 23, 2023, available at https://www.twu.org/wp-
UC
        content/uploads/2023/02/TWU-Jetblue-letter-2.23.2023.pdf
UD      Avelo Airlines Press Release, "Avelo Airlines Doubles Down on Vegas with New Base," June 22, 2023
        National Air Carrier Association Webpage and Presentation titled "Ultra Low-Cost Carriers (ULCCs) Innovation, Low Prices, and
UE
        Sustainability" (Christie LIT Depo. Ex. 2)
 UF     SEC Schedule 14A Definitive Additional Materials filed by Spirit Airlines, June 21, 2022
        Federal Aviation Administration Webpage titled "Slot Administration - Slot Definition,"
UG      https://www.faa.gov/about/office_org/headquarters_offices/ato/service_units/systemops/perf_analysis/slot_administration/slot_definition

UH      2013 SEC form 10-K, American Airlines Group, Inc. dated 2/28/2014
UI      2014 SEC form 10-K, American Airlines Group, Inc. dated 2/25/2015
UJ      2015 SEC form 10-K, American Airlines Group, Inc. dated 2/24/2016
UK      2016 SEC form 10-K, American Airlines Group, Inc. dated 2/22/2017
UL      2017 SEC form 10-K, American Airlines Group, Inc. dated 2/21/2018
UM      2018 SEC form 10-K, American Airlines Group, Inc. dated 2/25/2019
UN      2019 SEC form 10-K, American Airlines Group, Inc. dated 2/19/2020
UO      2020 SEC form 10-K, American Airlines Group, Inc. dated 2/17/2021
UP      2021 SEC form 10-K, American Airlines Group, Inc. dated 2/22/2022
UQ      2013 SEC form 10-K, Delta Air Lines, Inc. dated 2/24/2014
UR      2014 SEC form 10-K, Delta Air Lines, Inc. dated 2/11/2015
US      2015 SEC form 10-K, Delta Air Lines, Inc. dated 2/5/2016
UT      2016 SEC form 10-K, Delta Air Lines, Inc. dated 2/13/2017
UU      Audio recording of Frontier Airlines First Quarter 2023 Earnings Call, May 3, 2023
UV      2017 SEC form 10-K, Delta Air Lines, Inc. dated 2/23/2018
UW      2018 SEC form 10-K, Delta Air Lines, Inc. dated 2/15/2019
UX      2019 SEC form 10-K, Delta Air Lines, Inc. dated 2/13/2020
UY      2020 SEC form 10-K, Delta Air Lines, Inc. dated 2/12/2021
UZ      2021 SEC form 10-K, Delta Air Lines, Inc. dated 2/11/2022
VA      2013 SEC form 10-K, United Continental Holdings, Inc. dated 2/20/2014
VB      2014 SEC form 10-K, United Continental Holdings, Inc. dated 2/20/2015


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Ex. #   Beginning Bates                                  End Bates                                   Additional Information
 VC     2015 SEC form 10-K, United Continental Holdings, Inc. dated 2/18/2016
 VD     2016 SEC form 10-K, United Continental Holdings, Inc. dated 2/23/2017
 VE     2017 SEC form 10-K, United Continental Holdings, Inc. dated 2/22/2018
 VF     2018 SEC form 10-K, United Continental Holdings, Inc. dated 2/28/2019
 VG     2019 SEC form 10-K, United Continental Holdings, Inc. dated 2/25/2020
 VH     2020 SEC form 10-K, United Airlines Holdings, Inc. dated 3/1/2021
 VI     2021 SEC form 10-K, United Airlines Holdings, Inc. dated 2/18/2022
        Spirit Airlines, Inc. Press Release, https://ir.spirit.com/news-releases/news-details/2022/Spirit-Airlines-Highlights-Must-See-CNBC-
 VJ
        Interview-of-President-and-CEO-Ted-Christie-with-Jim-Cramer-Regarding-Frontier-Merger-/default.aspx, "Spirit Airlines Highlights Must-
VK      Spirit Airlines, Inc. SEC 425 Filing "Rejected Proposal from JetBlue is Illusory and Not Superior" dated 5/5/2022
        Frontier Airlines News Release, https://ir.flyfrontier.com/news-releases/news-release-details/frontier-airlines-issues-open-letter-spirit-
VL      airlines, "Frontier Airlines Issues Open Letter to Spirit Airlines Stockholders Highlighting Greater Value and Clearer Pathway to Close
        Than JetBlue Proposal" dated 6/27/2022
VM      Delta Air Lines Second Quarter 2015 Earnings Presentation, July 15, 2015
VN      Federal Aviation Administration Webpage titled "Slot Administration - U.S. Level 3 Airports,"
VO      Spirit Airlines First Quarter 2019 Earnings Call Transcript, April 25, 2019
VP      Audio recording of JetBlue Airways Second Quarter 2023 Earnings Call, August 1, 2023
VQ      Audio recording of JetBlue Airways First Quarter 2023 Earnings Call, April 25, 2023
VR      Audio recording of Spirit Airlines Fourth Quarter 2022 Earnings Call, February 7, 2023
VS      Audio recording of JetBlue Airways Fourth Quarter 2022 Earnings Call, January 26, 2023
VT      Audio recording of Spirit Airlines Third Quarter 2022 Earnings Call, October 27, 2022
VU      Audio recording of JetBlue Airways Third Quarter 2022 Earnings Call, October 25, 2022
VV      Audio recording of Spirit Airlines Second Quarter 2022 Earnings Call, August 10, 2022
VW      Audio recording of JetBlue Airways Second Quarter 2022 Earnings Call, August 2, 2022
VX      Audio recording of Spirit Airlines Second Quarter 2023 Earnings Call, August 3, 2023
VY      Audio recording of Spirit Airlines First Quarter 2019 Earnings Call, April 25, 2019
VZ      Audio recording of Delta Air Lines Second Quarter 2015 Earnings Call, July 15, 2015
WA      Audio recording of Spirit Airlines JP Morgan Industrials Conference, March 14, 2023
WB      Order Reassigning Schedules, Reassignment of Schedules at Newark-Liberty International Airport, Docket DOT-OST-2021-0103 (July 5,
WC      CID Deposition Transcript, Nicholas Bartolotta (Jan. 27, 2023)
WD      CID Deposition Transcript, Barry Biffle (Mar. 2, 2023)
WE      CID Deposition Transcript, Edward Christie (Jan. 24, 2023)
WF      CID Deposition Transcript, David Clark (Jan. 18, 2023)
WG      CID Deposition Transcript, David Fintzen (Jan. 10, 2023)


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Ex. #   Beginning Bates                               End Bates                                  Additional Information
WH      CID Deposition Transcript, Eric Friedman (Rule 30(b)(6)) (Jan. 19, 2023)
 WI     CID Deposition Transcript, Eric Friedman (Jan. 20, 2023)
 WJ     CID Deposition Transcript, DeAnne Gabel (Jan. 27, 2023)
WK      CID Deposition Transcript, Evan Jarashow (Feb. 8, 2023)
WL      CID Deposition Transcript, John Kirby (Rule 30(b)(6)) (Jan. 12, 2023)
WM      CID Deposition Transcript, John Kirby (Jan. 13, 2023)
WN      CID Deposition Transcript, Derek Klinka (Rule 30(b)(6)) (Jan. 12, 2023)
WO      CID Deposition Transcript, Derek Klinka (Jan. 13, 2023)
WP      CID Deposition Transcript, Eric Monaghan (Jan. 18, 2023)
WQ      Trial Transcript (Day 1), United States v. American Airlines Group Inc. and JetBlue Airways Corp., No. 1:21-cv-11558-LTS (D. Mass. Sept.
        Trial Transcript (Day 2), United States v. American Airlines Group Inc. and JetBlue Airways Corp., No. 1:21-cv-11558-LTS (D. Mass. Sept.
WR
        28, 2022)
        Trial Transcript (Day 3), United States v. American Airlines Group Inc. and JetBlue Airways Corp., No. 1:21-cv-11558-LTS (D. Mass. Sept.
WS
        29, 2022)
        Trial Transcript (Day 4), United States v. American Airlines Group Inc. and JetBlue Airways Corp., No. 1:21-cv-11558-LTS (D. Mass. Sept.
WT
        30, 2022)
        Trial Transcript (Day 8), United States v. American Airlines Group Inc. and JetBlue Airways Corp., No. 1:21-cv-11558-LTS (D. Mass. Oct.
WU
        7, 2022)
        Trial Transcript (Day 9), United States v. American Airlines Group Inc. and JetBlue Airways Corp., No. 1:21-cv-11558-LTS (D. Mass. Oct.
WV
        11, 2022)
        Trial Transcript (Day 10), United States v. American Airlines Group Inc. and JetBlue Airways Corp., No. 1:21-cv-11558-LTS (D. Mass.
WW
        Oct. 12, 2022)
WX      Deposition Transcript, David Clark (Apr. 21, 2022)
WY      Deposition Transcript, Evan Jarashow (May 26, 2022)
WZ      Avelo Airlines Response to DOJ CID Specs 1(a), (b), (c) & 2 (Aug. 31, 2022)
XA      Breeze Aviation Group Response to DOJ CID (Sept. 6, 2022)
XB      American Airlines Fourth Quarter 2016 Earnings Call Presentation, January 26, 2017
XC      American Airlines Press Release, "American Airlines Introduces New Basic Economy Fare,” January 18, 2017,
XD      Airlines for America Presentation titled “Industry Review and Outlook,” February 12, 2023.
XE      Spirit Fourth Quarter 2018 Earnings Call Transcript, February 6, 2019
XF      NK-2R-00001245                                NK-2R-00001356
XG      NK-2R-00004116                                NK-2R-00004118
XH      NK-2R-00007072                                NK-2R-00007087
XI      NK-2R-00009499                                NK-2R-00009511


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Ex. #   Beginning Bates                  End Bates                       Additional Information
 XJ     NK-2R-00012972                   NK-2R-00012972
 XK     NK-2R-00012973                   NK-2R-00013002
 XL     NK-2R-00025136                   NK-2R-00025199
XM      NK-2R-00035261                   NK-2R-00035262
 XN     NK-2R-00042546                   NK-2R-00042627
 XO     NK-2R-00051969                   NK-2R-00052022
 XP     NK-2R-00052577                   NK-2R-00052597
 XQ     NK-2R-00057019                   NK-2R-00057046
 XR     NK-2R-00071862                   NK-2R-00071908
 XS     NK-2R-00091691                   NK-2R-00091726
 XT     NK-2R-00306721                   NK-2R-00306763
 XU     NK-2R-00460719                   NK-2R-00460734
 XV     NK-2R-00482079                   NK-2R-00482082
XW      NK-2R-00502005                   NK-2R-00502017
 XX     NK-2R-00507559                   NK-2R-00507601
 XY     NK-2R-00509267                   NK-2R-00509270
 XZ     NK-2R-00640849                   NK-2R-00640882
 YA     NK-2R-00655894                   NK-2R-00655896
 YB     NK-2R-00660426                   NK-2R-00660597
 YC     NK-2R-00707633                   NK-2R-00707635
 YD     NK-2R-00707942                   NK-2R-00707960
 YE     NK-2R-00725723                   NK-2R-00725724
 YF     NK-2R-00735604                   NK-2R-00735627
 YG     NK-2R-00739576                   NK-2R-00739580
 YH     NK-2R-00744701                   NK-2R-00744702
 YI     NK-2R-00745129                   NK-2R-00745130
 YJ     NK-2R-00754155                   NK-2R-00754172
 YK     NK-2R-00783393                   NK-2R-00783417
 YL     NK-2R-00799569                   NK-2R-00799613
YM      NK-2R-00799570                   NK-2R-00799601
 YN     NK-2R-00810187                   NK-2R-00810191
 YO     NK-2R-00823350                   NK-2R-00823367
 YP     NK-2R-00823368                   NK-2R-00823389
 YQ     NK-2R-00835475                   NK-2R-00835487


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Ex. #   Beginning Bates                  End Bates                       Additional Information
 YR     NK-2R-00840746                   NK-2R-00840788
 YS     NK-2R-00885134                   NK-2R-00885152
 YT     NK-2R-00894018                   NK-2R-00894034
 YU     NK-2R-00904579                   NK-2R-00904580
 YV     NK-2R-00905259                   NK-2R-00905260
YW      NK-2R-00905893                   NK-2R-00905894
 YX     NK-2R-00905960                   NK-2R-00905968
 YY     NK-2R-00907452                   NK-2R-00907460
 YZ     NK-2R-00923920                   NK-2R-00923925
 ZA     NK-2R-00925442                   NK-2R-00925443
 ZB     NK-2R-00928283                   NK-2R-00928285
 ZC     NK-2R-00934364                   NK-2R-00934366
 ZD     NK-2R-00934470                   NK-2R-00934470
 ZE     NK-2R-00967588                   NK-2R-00967704
 ZF     NK-2R-00993706                   NK-2R-00993707
 ZG     NK-2R-01002169                   NK-2R-01002170
 ZH     NK-2R-01002335                   NK-2R-01002338
 ZI     NK-2R-01094363                   NK-2R-01094389
 ZJ     NK-2R-01110328                   NK-2R-01110355
 ZK     NK-2R-01112434                   NK-2R-01112435
 ZL     NK-2R-01114010                   NK-2R-01114025
ZM      NK-2R-01114214                   NK-2R-01114219
 ZN     NK-2R-01201435                   NK-2R-01201439
 ZO     NK-2R-01254994                   NK-2R-01255016
 ZP     NK-2R-01359226                   NK-2R-01359270
 ZQ     NK-2R-01459282                   NK-2R-01459283
 ZR     NK-2R-01469388                   NK-2R-01469393
 ZS     NK-2R-01470604                   NK-2R-01470605
 ZT     NK-2R-01513746                   NK-2R-01513763
 ZU     NK-2R-01532177                   NK-2R-01532179
 ZV     NK-2R-01534983                   NK-2R-01534985
ZW      NK-2R-01709637                   NK-2R-01709637
 ZX     NK-2R-01715379                   NK-2R-01715383
 ZY     NK-2R-01742508                   NK-2R-01742509


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Ex. #   Beginning Bates                  End Bates                       Additional Information
 ZZ     NK-2R-01902382                   NK-2R-01902385
AAA     NK-2R-02062673                   NK-2R-02062724
AAB     NK-2R-02238657                   NK-2R-02238657
AAC     NK-2R-02428437                   NK-2R-02428438
AAD     NK-2R-02428973                   NK-2R-02428975
AAE     NK-2R-02437557                   NK-2R-02437558
AAF     NK-2R-02449920                   NK-2R-02449921
AAG     NK-2R-02461987                   NK-2R-02462046
AAH     NK-2R-02463244                   NK-2R-02463244
AAI     NK-2R-02464311                   NK-2R-02464390
AAJ     NK-2R-02464450                   NK-2R-02464450
AAK     NK-2R-02468978                   NK-2R-02469003
AAL     NK-2R-02477111                   NK-2R-02477112
AAM     NK-2R-02478667                   NK-2R-02478669
AAN     NK-2R-02485725                   NK-2R-02485725
AAO     NK-2R-02496893                   NK-2R-02496900
AAP     NK-2R-02592380                   NK-2R-02592380
AAQ     NK-2R-02712684                   NK-2R-02712684
AAR     NK-2R-02728480                   NK-2R-02728480
AAS     NK-2R-02736542                   NK-2R-02736543
AAT     NK-2R-03085431                   NK-2R-03085435
AAU     NK-2R-03142629                   NK-2R-03142629
AAV     NK-2R-03260821                   NK-2R-03260822
AAW     NK-2R-03286591                   NK-2R-03286591
AAX     NK-2R-03384362                   NK-2R-03384384
AAY     NK-2R-03388592                   NK-2R-03388592
AAZ     NK-2R-03475183                   NK-2R-03475213
ABA     NK-2R-03749194                   NK-2R-03749195
ABB     NK-2R-03935818                   NK-2R-03935818
ABC     NK-2R-03964042                   NK-2R-03964042
ABD     NK-2R-03964085                   NK-2R-03964116
ABE     NK-2R-03970822                   NK-2R-03970823
ABF     NK-2R-04177279                   NK-2R-04177279
ABG     NK-2R-04236306                   NK-2R-04236306


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Ex. #   Beginning Bates                  End Bates                       Additional Information
ABH     NK-2R-04311738                   NK-2R-04311740
ABI     NK-2R-04529391                   NK-2R-04529395
ABJ     NK-2R-04635314                   NK-2R-04635327
ABK     NK-2R-05071954                   NK-2R-05071956
ABL     NK-2R-05076885                   NK-2R-05076885
ABM     NK-2R-05102507                   NK-2R-05102508
ABN     NK-2R-05121207                   NK-2R-05121276
ABO     NK-2R-05122436                   NK-2R-05122442
ABP     NK-2R-05158575                   NK-2R-05158593
ABQ     NK-2R-05206992                   NK-2R-05207019
ABR     NK-2R-05258468                   NK-2R-05258499
ABS     NK-2R-05264536                   NK-2R-05264557
ABT     NK-2R-05297695                   NK-2R-05297697
ABU     NK-2R-05300690                   NK-2R-05300690
ABV     NK-2R-05327708                   NK-2R-05327711
ABW     NK-2R-05327976                   NK-2R-05327984
ABX     NK-2R-05330342                   NK-2R-05330363
ABY     NK-2R-05332964                   NK-2R-05332964
ABZ     NK-2R-05334500                   NK-2R-05334509
ACA     NK-2R-05357898                   NK-2R-05357914
ACB     NK-2R-05386960                   NK-2R-05386965
ACC     NK-2R-05388416                   NK-2R-05388571
ACD     NK-2R-05391276                   NK-2R-05391304
ACE     NK-2R-05574032                   NK-2R-05574058
ACF     NK-2R-05653949                   NK-2R-05653953
ACG     NK-2R-05656251                   NK-2R-05656254
ACH     NK-2R-05656272                   NK-2R-05656274
ACI     NK-2R-05812549                   NK-2R-05812550
ACJ     NK-2R-05823456                   NK-2R-05823466
ACK     NK-2R-05824445                   NK-2R-05824449
ACL     NK-2R-05833278                   NK-2R-05833281
ACM     NK-2R-05864091                   NK-2R-05864094
ACN     NK-2R-05869727                   NK-2R-05869881
ACO     NK-2R-05871529                   NK-2R-05871529


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Ex. #   Beginning Bates                  End Bates                       Additional Information
ACP     NK-2R-05878946                   NK-2R-05878949
ACQ     NK-2R-05950496                   NK-2R-05950502
ACR     NK-2R-05958825                   NK-2R-05958843
ACS     NK-2R-06233249                   NK-2R-06233249
ACT     NK-2R-06571117                   NK-2R-06571162
ACU     NK-2R-06571447                   NK-2R-06571488
ACV     NK-2R-06657904                   NK-2R-06657904
ACW     NK-2R-06663348                   NK-2R-06663364
ACX     NK-2R-06725870                   NK-2R-06725882
ACY     NK-2R-06726572                   NK-2R-06726654
ACZ     NK-2R-06726639                   NK-2R-06726647
ADA     NK-2R-06726655                   NK-2R-06726706
ADB     NK-2R-06728053                   NK-2R-06728067
ADC     NK-2R-06729136                   NK-2R-06729182
ADD     NK-2R-06775130                   NK-2R-06775130
ADE     NK-2R-06786552                   NK-2R-06786552-0008
ADF     NK-2R-06818271                   NK-2R-06818300
ADG     NK-2R-06818347                   NK-2R-06818366
ADH     NK-2R-06846969                   NK-2R- 06846973
ADI     NK-2R-06847049                   NK-2R-06847052
ADJ     NK-2R-06850047                   NK-2R-06850047
ADK     NK-2R-06850157                   NK-2R-06850209
ADL     NK-2R-06855412                   NK-2R-06855420
ADM     NK-2R-06862930                   NK-2R-06862998
ADN     NK-2R-06869008                   NK-2R-06869014
ADO     NK-2R-06871112                   NK-2R-06871119
ADP     NK-2R-06871969                   NK-2R-06871969-0004
ADQ     NK-2R-06872683                   NK-2R-06872690
ADR     NK-2R-06873396                   NK-2R-06873407
ADS     NK-2R-06875095                   NK-2R-06875096
ADT     NK-2R-06876825                   NK-2R-06876825
ADU     NK-2R-06878553                   NK-2R-06878555-0008
ADV     NK-2R-06904036                   NK-2R-06904056
ADW     NK-2R-06904580                   NK-2R-06904595


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Ex. #   Beginning Bates                End Bates                       Additional Information
ADX     NK-2R-06904596                 NK-2R-06904600
ADY     NK-2R-06920610                 NK-2R-06920611
ADZ     NK-2R-06920670                 NK-2R-06920671
AEA     NK-2R-06932447                 NK-2R-06932447
AEB     NK-2R-06941043                 NK-2R-06941044
AEC     NK-2R-06942034                 NK-2R-06942034
AED     NK-2R-06942255                 NK-2R-06942256
AEE     NK-2R-06942800                 NK-2R-06942800
AEF     NK-2R-06950321                 NK-2R-06950322
AEG     NK-2R-06954326                 NK-2R-06954327
AEH     NK-2R-06954586                 NK-2R-06954588
AEI     NK-2R-06955545                 NK-2R-06955545
AEJ     NK-2R-06959072                 NK-2R-06959074
AEK     NK-2R-06962158                 NK-2R-06962159
AEL     NK-2R-06971766                 NK-2R-06971766
AEM     NK-2R-06988116                 NK-2R-06988116
AEN     NK-2R-06993729                 NK-2R-06993729
AEO     NK-2R-07001679                 NK-2R-07001691
AEP     NK-2R-07026413                 NK-2R-07026415
AEQ     NK-2R-07062400                 NK-2R-07062431
AER     NK-2R-07064625                 NK-2R-07064656
AES     NK-2R-07076500                 NK-2R-07076543
AET     NK-MERGERLIT-0000033988        NK-MERGERLIT-0000033989
AEU     NK-MERGERLIT-0000051369        NK-MERGERLIT-0000051371
AEV     NK-MERGERLIT-0000058824        NK-MERGERLIT-0000058824
AEW     NK-MERGERLIT-0000058862        NK-MERGERLIT-0000058862
AEX     NK-MERGERLIT-0000058980        NK-MERGERLIT-0000058982
AEY     NK-MERGERLIT-0000168876        NK-MERGERLIT-0000168951
AEZ     NK-MERGERLIT-0000208576        NK-MERGERLIT-0000208599
AFA     NK-MERGERLIT-0000247068        NK-MERGERLIT-0000247089
AFB     NK-MERGERLIT-0000289798        NK-MERGERLIT-0000289800
AFC     NK-MERGERLIT-0000295011        NK-MERGERLIT-0000295013
AFD     NK-MERGERLIT-0000296040        NK-MERGERLIT-0000296042
AFE     NK-MERGERLIT-0000310469        NK-MERGERLIT-0000310491


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Ex. #   Beginning Bates                End Bates                       Additional Information
AFF     NK-MERGERLIT-0000345221        NK-MERGERLIT-0000345222
AFG     NK-MERGERLIT-0000348946        NK-MERGERLIT-0000348956
AFH     NK-MERGERLIT-0000445665        NK-MERGERLIT-0000445669
 AFI    NK-MERGERLIT-0000495784        NK-MERGERLIT-0000495784
AFJ     NK-MERGERLIT-0000705432        NK-MERGERLIT-0000705432
AFK     NK-MERGERLIT-0001376907        NK-MERGERLIT-0001376954
AFL     NK-MERGERLIT-0001441136        NK-MERGERLIT-0001441137
AFM     NK-MERGERLIT-0001485831        NK-MERGERLIT-0001485860
AFN     NK-MERGERLIT-0002102864        NK-MERGERLIT-0002102866
AFO     NK-MERGERLIT-0002132883        NK-MERGERLIT-0002132885
AFP     NK-MERGERLIT-0002999444        NK-MERGERLIT-0002999513
AFQ     NK-MERGERLIT-0003086835        NK-MERGERLIT-0003086836
AFR     NK-MERGERLIT-0003131963        NK-MERGERLIT-0003131967
AFS     NK-MERGERLIT-0003152219        NK-MERGERLIT-0003152240
AFT     NK-MERGERLIT-0003283921        NK-MERGERLIT-0003283941
AFU     NK-MERGERLIT-0003284064        NK-MERGERLIT-0003284064
AFV     NK-MERGERLIT-0003284178        NK-MERGERLIT-0003284178
AFW     NK-MERGERLIT-0003284183        NK-MERGERLIT-0003284183
AFX     NK-MERGERLIT-0003284316        NK-MERGERLIT-0003284360
AFY     NK-MERGERLIT-0003284836        NK-MERGERLIT-0003284880
AFZ     NK-MERGERLIT-0003285831        NK-MERGERLIT-0003285840
AGA     NK-MERGERLIT-0003350870        NK-MERGERLIT-0003350872
AGB     NK-MERGERLIT-0003367271        NK-MERGERLIT-0003367271
AGC     NK-MERGERLIT-0003371708        NK-MERGERLIT-0003371709
AGD     NK-MERGERLIT-0003383452        NK-MERGERLIT-0003383453
AGE     NK-MERGERLIT-0003387759        NK-MERGERLIT-0003387759
AGF     NK-MERGERLIT-0003398742        NK-MERGERLIT-0003398746
AGG     NK-MERGERLIT-0003419242        NK-MERGERLIT-0003419244
AGH     NK-MERGERLIT-0003747795        NK-MERGERLIT-0003747797
AGI     NK-MERGERLIT-0003771042        NK-MERGERLIT-0003771042
AGJ     NK-MERGERLIT-0003771505        NK-MERGERLIT-0003771525
AGK     NK-MERGERLIT-0003771582        NK-MERGERLIT-0003771594
AGL     NK-MERGERLIT-0003771837        NK-MERGERLIT-0003771840
AGM     NK-MERGERLIT-0003772307        NK-MERGERLIT-0003772315


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Ex. #   Beginning Bates                End Bates                       Additional Information
AGN     NK-MERGERLIT-0003774183        NK-MERGERLIT-0003774188
AGO     NK-MERGERLIT-0003774189        NK-MERGERLIT-0003774189
AGP     NK-MERGERLIT-0003774190        NK-MERGERLIT-0003774191
AGQ     NK-MERGERLIT-0003774192        NK-MERGERLIT-0003774195
AGR     NK-MERGERLIT-0003774196        NK-MERGERLIT-0003774202
AGS     NK-MERGERLIT-0003774203        NK-MERGERLIT-0003774216
AGT     NK-MERGERLIT-0003774217        NK-MERGERLIT-0003774219
AGU     NK-MERGERLIT-0003774220        NK-MERGERLIT-0003774220
AGV     NK-MERGERLIT-0003774221        NK-MERGERLIT-0003774293
AGW     NK-MERGERLIT-0003774294        NK-MERGERLIT-0003774389
AGX     NK-MERGERLIT-0003774390        NK-MERGERLIT-0003774394
AGY     NK-MERGERLIT-0003774395        NK-MERGERLIT-0003774399
AGZ     NK-MERGERLIT-0003774400        NK-MERGERLIT-0003774404
AHA     NK-MERGERLIT-0003774405        NK-MERGERLIT-0003774412
AHB     SPIRIT-NEA-00010124            SPIRIT-NEA-00010140
AHC     SPIRIT-NEA-00010477            SPIRIT-NEA-00010531
AHD     SPIRIT-NEA-00011033            SPIRIT-NEA-00011060
AHE     SPIRIT-NEA-00012032            SPIRIT-NEA-00012082
AHF     SUN-COUNTRY-000002             SUN-COUNTRY-000003
AHG     SUN-COUNTRY-000030             SUN-COUNTRY-000042
AHH     SUN-COUNTRY-000050             SUN-COUNTRY-000062
AHI     SUN-COUNTRY-000193             SUN-COUNTRY-000217
AHJ     SUN-COUNTRY-DOJ-000033         SUN-COUNTRY-DOJ-000040
AHK     SUN-COUNTRY-DOJ-000041         SUN-COUNTRY-DOJ-000050
AHL     SUN-COUNTRY-DOJ-001355         SUN-COUNTRY-DOJ-001438
AHM     SWA-CID-004646                 SWA-CID-004648
AHN     SWA-DOJB6NK001397              SWA-DOJB6NK001403
AHO     SWA-DOJB6NK003425              SWA-DOJB6NK003425
AHP     SWA-DOJB6NK012296              SWA-DOJB6NK012300
AHQ     SWA-DOJB6NK034314              SWA-DOJB6NK034351
AHR     SWA-DOJB6NK036125              SWA-DOJB6NK036149
AHS     SWA-DOJB6NK036254              SWA-DOJB6NK036285
AHT     SWA-DOJB6NK047691              SWA-DOJB6NK047703
AHU     TBC-000368                     TBC-000380


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Ex. #   Beginning Bates                End Bates                       Additional Information
AHV     UA31106-000000581              UA31106-000000585
AHW     UALIT-00067697                 UALIT-00067697
AHX     UALIT-00067737                 UALIT-00067737
AHY     AA-NEA-00611997                AA-NEA-00612005
AHZ     AA-NEA-00659344                AA-NEA-00659358
AIA     AA-NEA-00845946                AA-NEA-00846011
AIB     AA-NEA-03214554                AA-NEA-03214568
AIC     AA-NEA-03218296                AA-NEA-03218310
AID     FRONTIER-000812                FRONTIER-000842
 AIE    JBLU_MERGER_LIT-02194212       JBLU_MERGER_LIT-02194418
 AIF    JBLU_MERGER_LIT-02710952       JBLU_MERGER_LIT-02711007
AIG     JBLU_MERGER_LIT-02730286       JBLU_MERGER_LIT-02730508
AIH     JBLU_MERGER_LIT-02730694       JBLU_MERGER_LIT-02730695
 AII    JBLU_MERGER_LIT-02731337       JBLU_MERGER_LIT-02731376
 AIJ    JBLU_MERGER_LIT-02731678       JBLU_MERGER_LIT-02731679
AIK     JBLU_MERGER_LIT-02732276       JBLU_MERGER_LIT-02732276
 AIL    JBLU_MERGER_LIT-02732319       JBLU_MERGER_LIT-02732324_0004
AIM     JBLU-DOJ-04323232              JBLU-DOJ-04323251
AIN     JBLU-DOJ-08572948              JBLU-DOJ-08572950
AIO     JBLU-DOJ-10685322              JBLU-DOJ-10685325
 AIP    JBLU-DOJ-10898362              JBLU-DOJ-10898364
AIQ     NK-2R-03910609                 NK-2R-03910609
AIR     NK-2R-05381881                 NK-2R-05381925
 AIS    NK-2R-05875546                 NK-2R-05875553
 AIT    NK-2R-06317151                 NK-2R-06317223
AIU     NK-2R-06789254                 NK-2R-06789258
AIV     NK-2R-07135907                 NK-2R-07135908
AIW     NK-2R-07136114                 NK-2R-07136115
AIX     NK-MERGERLIT-0003778822        NK-MERGERLIT-0003778823
AIY     NK-MERGERLIT-0003780938        NK-MERGERLIT-0003780939
 AIZ    NK-MERGERLIT-0003781009        NK-MERGERLIT-0003781009
AJA     NK-MERGERLIT-0003800294        NK-MERGERLIT-0003800298
AJB     NK-MERGERLIT-0003800386        NK-MERGERLIT-0003800394
AJC     NK-MERGERLIT-0003800881        NK-MERGERLIT-0003800883


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Ex. #   Beginning Bates                               End Bates                                    Additional Information
AJD     NK-MERGERLIT-0003800894                       NK-MERGERLIT-0003800894
AJE     NK-MERGERLIT-0003800900                       NK-MERGERLIT-0003800901
AJF     NK-MERGERLIT-0003800902                       NK-MERGERLIT-0003800905
AJG     NK-MERGERLIT-0003801018                       NK-MERGERLIT-0003801018
AJH     NK-MERGERLIT-0003801215                       NK-MERGERLIT-0003801215
 AJI    NK-MERGERLIT-0003801246                       NK-MERGERLIT-0003801247
 AJJ    NK-MERGERLIT-0003801251                       NK-MERGERLIT-0003801253
AJK     NK-MERGERLIT-0003801725                       NK-MERGERLIT-0003801729
AJL     NK-MERGERLIT-0003805090                       NK-MERGERLIT-0003805090
AJM     SPIRIT-NEA-00010479                           SPIRIT-NEA-00010531
AJN     TBC-000384                                    TBC-000384
AJO     Airlines for America Presentation titled “Industry Review:Allocating Capital to Benefit Customers, Employees and Investors,” August 31,
        Austan Goolsbee and Chad Syverson, “How Do Incumbents Respond to the Threat of Entry? Evidence from the Major Airlines,” NBER
AJP
        Working Paper Series, Working Paper 11072, National Bureau of Economic Research, 2005 (Revised 2008), available at:
AJQ     B6_NK_FamOutput_Logs
AJR     Competitive Impact Statement, United States v. Airline Tariff Publishing Company et. al., Civil Action No. 92-2854 SSH (D.D.C., March
        Complaint, United States v. Airline Tariff Publishing Company et. al., Civil Action No. 92-2854 SSH (D.D.C., December 21, 1992), Dkt
AJS
        No. 1.
        Douglas Turner, “Coordinated Effects in the American Airlines-US Airways Merger”, September 13, 2022, available at SSRN:
AJT
        https://ssrn.com/abstract=3917112 or http://dx.doi.org/10.2139/ssrn.3917112/.
AJU     Email from B. Hauser to J. Thornburgh, RE: [EXTERNAL] Expert Backup, Aug. 18, 2023 (5:57 p.m.)
AJV     Excel Data Master (FINAL)
AJW     Expert Reply Report of Gautam Gowrisankaran, Ph.D, dated August 25, 2023
AJX     Expert Reply Report of Tasneem Chipty, Ph.D, dated August 25, 2023
AJY     Federico Ciliberto and Jonathan Williams, “Does multimarket contact facilitate tacit collusion? Inference on conduct parameters in the
        Federico Ciliberto, Eddie Watkins, and Jonathan W. Williams, “Collusive pricing patterns in the US airline industry,” International Journal
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        of Industrial Organization, 2019, Vol. 62, pp. 136-157.
        Gaurab Aryal, Federico Ciliberto, and Benjamin T Leyden, "Coordinated Capacity Reductions and Public Communication in the Airline
AKA
        Industry," Review of Economic Studies, Oxford University Press, 2022, vol. 89(6), pp. 3055-3084.
        Gregory J. Werden, “Economic Evidence of the Existence of Collusion: Reconciling Antitrust Law with Oligopoly Theory,” 71 Anitrust L.J.
AKB
        719. (2004).
        Nicholas Hill, Dominic Vote, and Nathan E. Wilson, “Four Key Aspects of the Tronox/Cristal Litigation,” The Antitrust Source, American
AKC
        Bar Association, October 2019
AKD     Peter Belobaba, Amedeo Odoni, and Cynthia Barnhart, The Global Airline Industry (Peter Belobaba et al. eds. 2nd ed. 2015).


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Ex. #   Beginning Bates                                End Bates                                 Additional Information
AKE     Petition of the United States for an Order to Show Cause Why Respondent American Airlines, Inc. Should Not Be Found in Contempt,
        Robert Hazel, “Airline Capacity Discipline in the U.S. Domestic Market,” Journal of Air Transport Management, 2018, Vol. 66, pp. 76–86.
AKF
        Settlement Agreement and Order, United States v. Airline Tariff Publishing Company et. al., Civil Action No. 92-2854 SSH (D.D.C.,
AKG
        September 23, 2004), Dkt. No. 147.
        Severin Borenstein, “Rapid Communication and Price Fixing: The Airline Tariff Publishing Company Case,” 1997, available at: chrome-
AKH
        extension://efaidnbmnnnibpcajpcglclefindmkaj/https://faculty.haas.berkeley.edu/borenste/download/atpcase1.pdf
        Soo Jin Kim and Yongjoon Park, “Examining the Coordinated Effects of the AA/USAir Merger,” ShanghaiTech SEM Working Paper No.
AKI
        2021-006, February 3, 2023, available at SSRN: https://ssrn.com/abstract=3877895 or http://dx.doi.org/10.2139/ssrn.3877895.
        U.S. Department of Transportation document, “Meeting of the Aviation Consumer Protection Advisory Committee (ACPAC) – Speakers
AKJ     Biographical Information,” June 28, 2022

        U.S. Department of Transportation, Aviation Consumer Protection Advisory Committee (ACPAC) June 28 and 29, 2022 Meeting Minutes
AKK
        William N. Evans and Ioannis N. Kessides, “Living by the ‘Golden Rule’: Multimarket Contact in the U.S. Airline Industry,” The Quarterly
AKL
        Journal of Economics, 1994, vol. 109), pp. 341–366.
        NK-2R-06923998                              NK-2R-06923998
AKM
AKN     NK-2R-06924076                             NK-2R-06924076
AKO     NK-2R-06925102                             NK-2R-06925102
AKP     NK-2R-06925518                             NK-2R-06925518
AKQ     NK-2R-06926400                             NK-2R-06926400
AKR     NK-2R-06926941                             NK-2R-06926941
AKS     NK-2R-06928223                             NK-2R-06928223
AKT     NK-2R-06928394                             NK-2R-06928394
AKU     NK-2R-06928906                             NK-2R-06928906
AKV     NK-2R-06928915                             NK-2R-06928915
AKW     NK-2R-06929692                             NK-2R-06929692
AKX     NK-2R-06929716                             NK-2R-06929716
AKY     NK-2R-06930359                             NK-2R-06930359
AKZ     NK-2R-06930697                             NK-2R-06930697
ALA     NK-2R-06930871                             NK-2R-06930871
ALB     NK-2R-06930958                             NK-2R-06930958
ALC     NK-2R-06931349                             NK-2R-06931349


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Ex. #   Beginning Bates                  End Bates                       Additional Information
ALD     NK-2R-06932566                   NK-2R-06932566
ALE     NK-2R-06932836                   NK-2R-06932836
ALF     NK-2R-06933161                   NK-2R-06933161
ALG     NK-2R-06933406                   NK-2R-06933406
ALH     NK-2R-06933534                   NK-2R-06933534
ALI     NK-2R-06934102                   NK-2R-06934102
ALJ     NK-2R-06934261                   NK-2R-06934261
ALK     NK-2R-06934627                   NK-2R-06934627
ALL     NK-2R-06934936                   NK-2R-06934936
ALM     NK-2R-06935102                   NK-2R-06935102
ALN     NK-2R-06935114                   NK-2R-06935114
ALO     NK-2R-06935258                   NK-2R-06935258
ALP     NK-2R-06936338                   NK-2R-06936338
ALQ     NK-2R-06936697                   NK-2R-06936697
ALR     NK-2R-06936718                   NK-2R-06936718
ALS     NK-2R-06936787                   NK-2R-06936787
ALT     NK-2R-06937176                   NK-2R-06937176
ALU     NK-2R-06938000                   NK-2R-06938000
ALV     NK-2R-06938057                   NK-2R-06938057
ALW     NK-2R-06938203                   NK-2R-06938203
ALX     NK-2R-06938244                   NK-2R-06938244
ALY     NK-2R-06938917                   NK-2R-06938917
ALZ     NK-2R-06939690                   NK-2R-06939690
AMA     NK-2R-06940969                   NK-2R-06940969
AMB     NK-2R-06940999                   NK-2R-06940999
AMC     NK-2R-06942341                   NK-2R-06942341
AMD     NK-2R-06942916                   NK-2R-06942916
AME     NK-2R-06943100                   NK-2R-06943100
AMF     NK-2R-06943332                   NK-2R-06943332
AMG     NK-2R-06943815                   NK-2R-06943815
AMH     NK-2R-06944403                   NK-2R-06944403
AMI     NK-2R-06945148                   NK-2R-06945148
AMJ     NK-2R-06945749                   NK-2R-06945749
AMK     NK-2R-06947116                   NK-2R-06947116


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Ex. #   Beginning Bates                  End Bates                       Additional Information
AML     NK-2R-06947272                   NK-2R-06947272
AMM     NK-2R-06948343                   NK-2R-06948343
AMN     NK-2R-06948684                   NK-2R-06948684
AMO     NK-2R-06949683                   NK-2R-06949683
AMP     NK-2R-06949705                   NK-2R-06949705
AMQ     NK-2R-06950423                   NK-2R-06950423
AMR     NK-2R-06950776                   NK-2R-06950776
AMS     NK-2R-06951075                   NK-2R-06951075
AMT     NK-2R-06951176                   NK-2R-06951176
AMU     NK-2R-06951426                   NK-2R-06951426
AMV     NK-2R-06951520                   NK-2R-06951520
AMW     NK-2R-06953184                   NK-2R-06953184
AMX     NK-2R-06953228                   NK-2R-06953228
AMY     NK-2R-06953463                   NK-2R-06953463
AMZ     NK-2R-06953627                   NK-2R-06953627
ANA     NK-2R-06953697                   NK-2R-06953697
ANB     NK-2R-06953790                   NK-2R-06953790
ANC     NK-2R-06953795                   NK-2R-06953795
AND     NK-2R-06953920                   NK-2R-06953920
ANE     NK-2R-06954076                   NK-2R-06954076
ANF     NK-2R-06954214                   NK-2R-06954214
ANG     NK-2R-06954442                   NK-2R-06954442
ANH     NK-2R-06954521                   NK-2R-06954521
 ANI    NK-2R-06954592                   NK-2R-06954592
ANJ     NK-2R-06955452                   NK-2R-06955452
ANK     NK-2R-06958222                   NK-2R-06958222
ANL     NK-2R-06959049                   NK-2R-06959049
ANM     NK-2R-06959402                   NK-2R-06959402
ANN     NK-2R-06959556                   NK-2R-06959556
ANO     NK-2R-06959740                   NK-2R-06959740
ANP     NK-2R-06959756                   NK-2R-06959756
ANQ     NK-2R-06960886                   NK-2R-06960886
ANR     NK-2R-06960948                   NK-2R-06960948
ANS     NK-2R-06961083                   NK-2R-06961083


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Ex. #   Beginning Bates                  End Bates                       Additional Information
ANT     NK-2R-06961892                   NK-2R-06961892
ANU     NK-2R-06962012                   NK-2R-06962012
ANV     NK-2R-06962157                   NK-2R-06962157
ANW     NK-2R-06962454                   NK-2R-06962454
ANX     NK-2R-06962479                   NK-2R-06962479
ANY     NK-2R-06962572                   NK-2R-06962572
ANZ     NK-2R-06962665                   NK-2R-06962665
AOA     NK-2R-06962928                   NK-2R-06962928
AOB     NK-2R-06962945                   NK-2R-06962945
AOC     NK-2R-06965437                   NK-2R-06965437
AOD     NK-2R-06966766                   NK-2R-06966766
AOE     NK-2R-06966947                   NK-2R-06966947
AOF     NK-2R-06967192                   NK-2R-06967192
AOG     NK-2R-06967492                   NK-2R-06967492
AOH     NK-2R-06968236                   NK-2R-06968236
AOI     NK-2R-06969957                   NK-2R-06969957
AOJ     NK-2R-06970388                   NK-2R-06970388
AOK     NK-2R-06970493                   NK-2R-06970493
AOL     NK-2R-06970756                   NK-2R-06970756
AOM     NK-2R-06971096                   NK-2R-06971096
AON     NK-2R-06972096                   NK-2R-06972096
AOO     NK-2R-06972252                   NK-2R-06972252
AOP     NK-2R-06972470                   NK-2R-06972470
AOQ     NK-2R-06973328                   NK-2R-06973328
AOR     NK-2R-06973336                   NK-2R-06973336
AOS     NK-2R-06973421                   NK-2R-06973421
AOT     NK-2R-06973425                   NK-2R-06973425
AOU     NK-2R-06973497                   NK-2R-06973497
AOV     NK-2R-06973705                   NK-2R-06973705
AOW     NK-2R-06973932                   NK-2R-06973932
AOX     NK-2R-06974175                   NK-2R-06974175
AOY     NK-2R-06974272                   NK-2R-06974272
AOZ     NK-2R-06974458                   NK-2R-06974458
APA     NK-2R-06974520                   NK-2R-06974520


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Ex. #   Beginning Bates                  End Bates                       Additional Information
APB     NK-2R-06974586                   NK-2R-06974586
APC     NK-2R-06974765                   NK-2R-06974765
APD     NK-2R-06974855                   NK-2R-06974855
APE     NK-2R-06975008                   NK-2R-06975008
APF     NK-2R-07060701                   NK-2R-07060701
APG     NK-2R-07060728                   NK-2R-07060728
APH     NK-2R-07060733                   NK-2R-07060733
API     NK-2R-07060743                   NK-2R-07060743
APJ     NK-2R-07060883                   NK-2R-07060883
APK     NK-2R-07060905                   NK-2R-07060905
APL     NK-2R-07060909                   NK-2R-07060909
APM     NK-2R-07061053                   NK-2R-07061053
APN     NK-2R-07061058                   NK-2R-07061058
APO     NK-2R-07061183                   NK-2R-07061183
APP     NK-2R-07061205                   NK-2R-07061205
APQ     NK-2R-07061287                   NK-2R-07061287
APR     NK-2R-07061289                   NK-2R-07061289
APS     NK-2R-07061294                   NK-2R-07061294
APT     NK-2R-07061296                   NK-2R-07061296
APU     NK-2R-07061301                   NK-2R-07061301
APV     NK-2R-07061303                   NK-2R-07061303
APW     NK-2R-07061346                   NK-2R-07061346
APX     NK-2R-07061392                   NK-2R-07061392
APY     NK-2R-07061414                   NK-2R-07061414
APZ     NK-2R-07061468                   NK-2R-07061468
AQA     NK-2R-07061481                   NK-2R-07061481
AQB     NK-2R-07061483                   NK-2R-07061483
AQC     NK-2R-07061485                   NK-2R-07061485
AQD     NK-2R-07061489                   NK-2R-07061489
AQE     NK-2R-07061491                   NK-2R-07061491
AQF     NK-2R-07061504                   NK-2R-07061504
AQG     NK-2R-07061518                   NK-2R-07061518
AQH     NK-2R-07061606                   NK-2R-07061606
AQI     NK-2R-07061638                   NK-2R-07061638


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Ex. #   Beginning Bates                                End Bates                                  Additional Information
AQJ     NK-2R-07061683                                 NK-2R-07061683
AQK     NK-2R-07061696                                 NK-2R-07061696
AQL     NK-2R-07061732                                 NK-2R-07061732
AQM     NK-2R-07061734                                 NK-2R-07061734
AQN     Airline fares in U.S. city average, all urban consumers, not seasonally adjusted, 2013_2023_airline_cpi_fares.xlsx
AQO     ArcGIS, map_coordinates.rds
AQP     International DB1B Ticket Data, prod_db1b_build
AQQ     JetBlue Ticket Data, prod_b6_ticket_build_new_vars
AQR     OAG Global Airline Schedules Data, prod_oag_scheduling_raw.rds
AQS     OAG Global Airline Traffic Data, prod_oag_traffic_build
AQT     Spirit Ticket Data, prod_nk_ticket_build_new_vars
AQU     Spirit 0-3-7 AP Reports, nk_0_3_6_build.rds
AQV     T-100 Segment (All Carriers), prod_t100_build
AQW     Unified Ticket Data, prod_unified_ticket_data_build
AQX     US Census Population Data, metro_area_population_xwalk.xlsx
AQY     2nd Spirit Ticket Data Production/2017/FlownFlightData_2017.csv
AQZ     2nd Spirit Ticket Data Production/2018/FlownFlightData_2018.csv
ARA     2nd Spirit Ticket Data Production/2019/FlownFlightData_2019.csv
ARB     2nd Spirit Ticket Data Production/2020/FlownFlightData_2020.csv
ARC     2nd Spirit Ticket Data Production/2021/FlownFlightData_2021.csv
ARD     2nd Spirit Ticket Data Production/2022/FlownFlightData_000000.txt
ARE     2nd Spirit Ticket Data Production/2022/FlownFlightData_000001.txt
ARF     2nd Spirit Ticket Data Production/2022/FlownFlightData_000002.txt
ARG     2nd Spirit Ticket Data Production/2022/FlownFlightData_000003.txt
ARH     2nd Spirit Ticket Data Production/2022/FlownFlightData_000004.txt
ARI     2nd Spirit Ticket Data Production/2022/FlownFlightData_000005.txt
ARJ     2nd Spirit Ticket Data Production/2022/FlownFlightData_000006.txt
ARK     2nd Spirit Ticket Data Production/2022/FlownFlightData_000007.txt
ARL     2nd Spirit Ticket Data Production/2022/FlownFlightData_000008.txt
ARM     2nd Spirit Ticket Data Production/2022/FlownFlightData_000009.txt
ARN     2nd Spirit Ticket Data Production/2022/FlownFlightData_000010.txt
ARO     2nd Spirit Ticket Data Production/2022/FlownFlightData_000011.txt
ARP     2nd Spirit Ticket Data Production/2022/FlownFlightData_000012.txt
ARQ     2nd Spirit Ticket Data Production/2022/FlownFlightData_000013.txt


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Ex. #   Beginning Bates                            End Bates                  Additional Information
ARR     2nd Spirit Ticket Data Production/2022/FlownFlightData_000014.txt
ARS     2nd Spirit Ticket Data Production/2022/FlownFlightData_000015.txt
ART     2nd Spirit Ticket Data Production/2022/FlownFlightData_000016.txt
ARU     2nd Spirit Ticket Data Production/2022/FlownFlightData_000017.txt
ARV     2nd Spirit Ticket Data Production/2022/FlownFlightData_000018.txt
ARW     2nd Spirit Ticket Data Production/2022/FlownFlightData_000019.txt
ARX     2nd Spirit Ticket Data Production/2022/FlownFlightData_000020.txt
ARY     2nd Spirit Ticket Data Production/2022/FlownFlightData_000021.txt
ARZ     2nd Spirit Ticket Data Production/2022/FlownFlightData_000022.txt
ASA     2nd Spirit Ticket Data Production/2023/FlownFlightData_000000.txt
ASB     2nd Spirit Ticket Data Production/2023/FlownFlightData_000001.txt
ASC     2nd Spirit Ticket Data Production/2023/FlownFlightData_000002.txt
ASD     2nd Spirit Ticket Data Production/2023/FlownFlightData_000003.txt
ASE     2nd Spirit Ticket Data Production/2023/FlownFlightData_000004.txt
ASF     2nd Spirit Ticket Data Production/2023/FlownFlightData_000005.txt
ASG     2nd Spirit Ticket Data Production/2023/FlownFlightData_000006.txt
ASH     2nd Spirit Ticket Data Production/2023/FlownFlightData_000007.txt
ASI     JBLU_MERGER_LIT-01401740                   JBLU_MERGER_LIT-01401740   (JBLU_MERGER_LIT-01401740.csv)
ASJ     JBLU_MERGER_LIT-01401741                   JBLU_MERGER_LIT-01401741   (JBLU_MERGER_LIT-01401741.csv)
ASK     JBLU_MERGER_LIT-01681273.csv                                          (JBLU_MERGER_LIT-01681273.csv)
ASL     JBLU_MERGER_LIT-01681274.csv                                          (JBLU_MERGER_LIT-01681274.csv)
ASM     JBLU_MERGER_LIT-01681275                   JBLU_MERGER_LIT-01681275   (JBLU_MERGER_LIT-01681275.csv)
ASN     JBLU_MERGER_LIT-01681276                   JBLU_MERGER_LIT-01681276   (JBLU_MERGER_LIT-01681276.csv)
ASO     JBLU_MERGER_LIT-01681277                   JBLU_MERGER_LIT-01681277   (JBLU_MERGER_LIT-01681277.csv)
ASP     JBLU_MERGER_LIT-01681278.csv
ASQ     JBLU_MERGER_LIT-01681279.csv
ASR     JBLU_MERGER_LIT-01681280.csv
ASS     JBLU_MERGER_LIT-01681281.csv
AST     JBLU_MERGER_LIT-01681282.csv
ASU     JBLU_MERGER_LIT-01681283.csv
ASV     JBLU_MERGER_LIT-01681284                   JBLU_MERGER_LIT-01681284   (JBLU_MERGER_LIT-01681284.csv)
ASW     JBLU_MERGER_LIT-01681285                   JBLU_MERGER_LIT-01681285   (JBLU_MERGER_LIT-01681285.csv)
ASX     JBLU_MERGER_LIT-01681286                   JBLU_MERGER_LIT-01681286   (JBLU_MERGER_LIT-01681286.csv)
ASY     JBLU_MERGER_LIT-01681287                   JBLU_MERGER_LIT-01681287   (JBLU_MERGER_LIT-01681287.csv)


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Ex. #   Beginning Bates                       End Bates                                            Additional Information
ASZ     JBLU_MERGER_LIT-01681288              JBLU_MERGER_LIT-01681288                             (JBLU_MERGER_LIT-01681288.csv)
ATA     JBLU-DOJ-10441766 - 2017_H1 Ticket Data.csv
ATB     JBLU-DOJ-10441767 - 2017_H2 Ticket Data.csv
ATC     JBLU-DOJ-10441768 - 2018_H1 Ticket Data.csv
ATD     JBLU-DOJ-10441769 - 2018_H2 Ticket Data.csv
ATE     JBLU-DOJ-10441769 - 2019_H1 Ticket Data.csv
ATF     JBLU-DOJ-10441770 - 2019_H1.p2 Ticket Data.csv
ATG     JBLU-DOJ-10441771 - 2019_H2 Ticket Data.csv
ATH     JBLU-DOJ-10441771 - 2019_H2 Ticket Data.csv
ATI     JBLU-DOJ-10441772                     JBLU-DOJ-10441772                                    (JBLU-DOJ-10441772 - 2020_Q1 Ticket
        JBLU-DOJ-10441777 -
ATJ
        Ancillary_Data_2017.csv
        JBLU-DOJ-10441778 -
ATK
        Ancillary_Data_2018.csv
        JBLU-DOJ-10441779 -
ATL
        Ancillary_Data_2019.csv
        JBLU-DOJ-10441781                     JBLU-DOJ-10441781                                     (JBLU-DOJ-10441781 -
ATM
                                                                                                    Ancillary_Data_2021.csv)
        JBLU-DOJ-10441782                            JBLU-DOJ-10441782                              (JBLU-DOJ-10441782 -
ATN
                                                                                                    Ancillary_Data_2022.csv)
ATO     JetBlue Press Release (Sept. 11, 2023), “JetBlue and Allegiant Announce Divestiture Agreement in Connection with JetBlue’s Combination
        Additional Data regarding Exhibit A to Plaintiffs' Responses to Defendants' First Set of Interrogatories attached to email from John Briggs to
ATP     Rachel M. Zieminski dated April 24, 2023

        Additional Data regarding Exhibit B to Plaintiffs' Responses to Defendants' First Set of Interrogatories attached to email from John Briggs to
ATQ
        Rachel M. Zieminski dated April 24, 2023
ATR     Alaska Air Group, Inc. Q1 2022 Earnings Call Transcript
ATS     Alaska Air Group, Inc. Q1 2023 Earnings Call Transcript
ATT     Alaska Air Group, Inc. Q2 2022 Earnings Call Transcript
ATU     Alaska Air Group, Inc. Q2 2023 Earnings Call Transcript
ATV     Alaska Air Group, Inc. Q3 2022 Earnings Call Transcript
ATW     Alaska Air Group, Inc. Q4 2022 Earnings Call Transcript
ATX     Alaska Air Group, Inc. Q2 2023 Form 10-Q
ATY     Allegiant Travel Company Q1 2022 Earnings Call Transcript


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Ex. #   Beginning Bates                           End Bates                                 Additional Information
ATZ     Allegiant Travel Company Q1 2023 Earnings Call Transcript
AUA     Allegiant Travel Company Q2 2022 Earnings Call Transcript
AUB     Allegiant Travel Company Q2 2023 Earnings Call Transcript
AUC     Allegiant Travel Company Q3 2022 Earnings Call Transcript
AUD     Allegiant Travel Company Q4 2022 Earnings Call Transcript
AUE     American Airlines Group Inc. Q1 2022 Earnings Call Transcript
AUF     American Airlines Group Inc. Q1 2023 Earnings Call Transcript
AUG     American Airlines Group Inc. Q2 2022 Earnings Call Transcript
AUH     American Airlines Group Inc. Q2 2023 Earnings Call Transcript
AUI     American Airlines Group Inc. Q3 2022 Earnings Call Transcript
AUJ     American Airlines Group Inc. Q4 2022 Earnings Call Transcript
AUK     American Airlines Group Inc. Q2 2023 Form 10-Q
        ATPCO: The Foundation of Modern Retailing (accessed July 26, 2023), https://www.atpco.net/sites/atpco-public/files/all_pdfs/press-kit-
AUL
        atpco.pdf
        BREEZE-004479                             BREEZE-004489
AUM
AUN     BREEZE-022166                                   BREEZE-022235
AUO     BREEZE-032001                                   BREEZE-032007
AUP     BREEZE-042752                                   BREEZE-042762
AUQ     Delta Air Lines, Inc. Q1 2022 Earnings Call Transcript
AUR     Delta Air Lines, Inc. Q1 2023 Earnings Call Transcript
AUS     Delta Air Lines, Inc. Q2 2022 Earnings Call Transcript
AUT     Delta Air Lines, Inc. Q2 2023 Earnings Call Transcript
AUU     Delta Air Lines, Inc. Q3 2022 Earnings Call Transcript
AUV     Delta Air Lines, Inc. Q4 2022 Earnings Call Transcript
AUW     DOJ-NEA-00001302                                DOJ-NEA-00001304
AUX     DOJ-NEA-00002620                                DOJ-NEA-00002624
        Email from John Briggs to Rachel M. Zieminski dated April 24, 2023 regarding "United States v. JetBlue and Spirit (1:23-cv-10511) I
AUY     Interrogatories to Plaintiffs" and including attachments "Additional Data re Exhibit A to Pls' Repsonses to Defs' 1st Rogs" and "Additional
        Data re Exhibit B to Pls' Responses to Defs' 1st Rogs"
        FAA Slot Administration Data: "Summer 2022 LGA holder totals and Summer 2022 LGA operator totals," US Department of
AUZ
        Transportation
AVA     Frontier Group Holdings, Inc. Q1 2022 Earnings Call Transcript
AVB     Frontier Group Holdings, Inc. Q1 2023 Earnings Call Transcript


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Ex. #   Beginning Bates                               End Bates                                 Additional Information
AVC     Frontier Group Holdings, Inc. Q2 2022 Earnings Call Transcript
AVD     Frontier Group Holdings, Inc. Q2 2023 Earnings Call Transcript
AVE     Frontier Group Holdings, Inc. Q3 2022 Earnings Call Transcript
AVF     Frontier Group Holdings, Inc. Q4 2022 Earnings Call Transcript
AVG     G. Steven Olley and Robert Town, “End of and Era: The American Airlines-US Airways Merger,” in The Antitrust Revolution, 7th
AVH     GS-00017396                                   GS-00017431
AVI     GSA FY 2024 All Carrier Awards, available at https://www.gsa.gov/travel/plan-book/transportation-airfare-pov-etc/airfare-rates-city-pair-
AVJ     GSA-AAB6-00002845                             GSA-AAB6-00002845
AVK     GSA-AAB6-00005040                             GSA-AAB6-00005040
AVL     GSA-AAB6-00005057                             GSA-AAB6-00005057
AVM     Hawaiian Holdings, Inc. Q1 2022 Earnings Call Transcript
AVN     Hawaiian Holdings, Inc. Q1 2023 Earnings Call Transcript
AVO     Hawaiian Holdings, Inc. Q2 2022 Earnings Call Transcript
AVP     Hawaiian Holdings, Inc. Q2 2023 Earnings Call Transcript
AVQ     Hawaiian Holdings, Inc. Q3 2022 Earnings Call Transcript
AVR     Hawaiian Holdings, Inc. Q4 2022 Earnings Call Transcript
AVS     JetBlue Customer Bill of Rights, available at https://www.jetblue.com/customer-assurance/customer-bill-of-rights
AVT     JBLU_MERGER_LIT-00011036                      JBLU_MERGER_LIT-00011042
AVU     JBLU_MERGER_LIT-00011360                      JBLU_MERGER_LIT-00011363
AVV     JBLU_MERGER_LIT-00031239                      JBLU_MERGER_LIT-00031241
AVW     JBLU_MERGER_LIT-00034862                      JBLU_MERGER_LIT-00034867
AVX     JBLU_MERGER_LIT-00045362                      JBLU_MERGER_LIT-00045365
AVY     JBLU_MERGER_LIT-00048978                      JBLU_MERGER_LIT-00048979
AVZ     JBLU_MERGER_LIT-00058426                      JBLU_MERGER_LIT-00058443
AWA     JBLU_MERGER_LIT-00078500                      JBLU_MERGER_LIT-00078500
AWB     JBLU_MERGER_LIT-00095209                      JBLU_MERGER_LIT-00095212
AWC     JBLU_MERGER_LIT-00097255                      JBLU_MERGER_LIT-00097256
AWD     JBLU_MERGER_LIT-00098101                      JBLU_MERGER_LIT-00098103
AWE     JBLU_MERGER_LIT-00098508                      JBLU_MERGER_LIT-00098511
AWF     JBLU_MERGER_LIT-00116173                      JBLU_MERGER_LIT-00116175
AWG     JBLU_MERGER_LIT-00118784                      JBLU_MERGER_LIT-00118789
AWH     JBLU_MERGER_LIT-00216712                      JBLU_MERGER_LIT-00216717
AWI     JBLU_MERGER_LIT-00225676                      JBLU_MERGER_LIT-00225679
AWJ     JBLU_MERGER_LIT-00225844                      JBLU_MERGER_LIT-00225845


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Ex. #   Beginning Bates                End Bates                       Additional Information
AWK     JBLU_MERGER_LIT-00271905       JBLU_MERGER_LIT-00271906
AWL     JBLU_MERGER_LIT-00448335       JBLU_MERGER_LIT-00448389
AWM     JBLU_MERGER_LIT-01069074       JBLU_MERGER_LIT-01069075
AWN     JBLU_MERGER_LIT-01156001       JBLU_MERGER_LIT-01156004
AWO     JBLU_MERGER_LIT-01218218       JBLU_MERGER_LIT-01218270
AWP     JBLU_MERGER_LIT-01428262       JBLU_MERGER_LIT-01428262
AWQ     JBLU_MERGER_LIT-01428263       JBLU_MERGER_LIT-01428263
AWR     JBLU_MERGER_LIT-01428264       JBLU_MERGER_LIT-01428264
AWS     JBLU_MERGER_LIT-01428265       JBLU_MERGER_LIT-01428265
AWT     JBLU_MERGER_LIT-01428266       JBLU_MERGER_LIT-01428266
AWU     JBLU_MERGER_LIT-01428267       JBLU_MERGER_LIT-01428267
AWV     JBLU-DOJ-04250880              JBLU-DOJ-04250937
AWW     JBLU_MERGER_LIT-01707114       JBLU_MERGER_LIT-01707178
AWX     JBLU_MERGER_LIT-01712927       JBLU_MERGER_LIT-01712929
AWY     JBLU_MERGER_LIT-01730549       JBLU_MERGER_LIT-01730571
AWZ     JBLU_MERGER_LIT-01931044       JBLU_MERGER_LIT-01931056
AXA     JBLU_MERGER_LIT-02015477       JBLU_MERGER_LIT-02015634
AXB     JBLU_MERGER_LIT-02217339       JBLU_MERGER_LIT-02217357
AXC     JBLU_MERGER_LIT-02240618       JBLU_MERGER_LIT-02240620
AXD     JBLU00055991                   JBLU00055991
AXE     JBLU00055992                   JBLU00055992
AXF     JBLU00055993                   JBLU00055993
AXG     JBLU00055994                   JBLU00055994
AXH     JBLU00055995                   JBLU00055995
 AXI    JBLU00055996                   JBLU00055996
 AXJ    JBLU00055997                   JBLU00055997
AXK     JBLU00055998                   JBLU00055998
AXL     JBLU00055999                   JBLU00055999
AXM     JBLU00056000                   JBLU00056000
AXN     JBLU00056001                   JBLU00056001
AXO     JBLU00056002                   JBLU00056002
AXP     JBLU00060274                   JBLU00060281
AXQ     JBLU00080059                   JBLU00080064
AXR     JBLU00144347                   JBLU00144382


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Ex. #   Beginning Bates                 End Bates                       Additional Information
AXS     JBLU00248381                    JBLU00248428
AXT     JBLU00261844                    JBLU00261847
AXU     JBLU00444551                    JBLU00444553
AXV     JBLU00609936                    JBLU00609973
AXW     JBLU00913067                    JBLU00913067
AXX     JBLU00948030                    JBLU00948031
AXY     JBLU00955873                    JBLU00955877
AXZ     JBLU01361597                    JBLU01361602
AYA     JBLU01404379                    JBLU01404381
AYB     JBLU01496192                    JBLU01496216
AYC     JBLU01517484                    JBLU01517515
AYD     JBLU01534959                    JBLU01534959
AYE     JBLU01700660                    JBLU01700696
AYF     JBLU01866727                    JBLU01866735
AYG     JBLU02094521                    JBLU02094578
AYH     JBLU-DOJ-00121128               JBLU-DOJ-00121134
AYI     JBLU-DOJ-00127193               JBLU-DOJ-00127199
AYJ     JBLU-DOJ-00130138               JBLU-DOJ-00130144
AYK     JBLU-DOJ-00139536               JBLU-DOJ-00139543
AYL     JBLU-DOJ-00139614               JBLU-DOJ-00139620
AYM     JBLU-DOJ-00139631               JBLU-DOJ-00139637
AYN     JBLU-DOJ-00351354               JBLU-DOJ-00351357
AYO     JBLU-DOJ-00420502               JBLU-DOJ-00420516
AYP     JBLU-DOJ-00506762               JBLU-DOJ-00506777
AYQ     JBLU-DOJ-00563645               JBLU-DOJ-00563668
AYR     JBLU-DOJ-00893518               JBLU-DOJ-00893538
AYS     JBLU-DOJ-01045588               JBLU-DOJ-01045590
AYT     JBLU-DOJ-01045858               JBLU-DOJ-01045905
AYU     JBLU-DOJ-02521161               JBLU-DOJ-02521162
AYV     JBLU-DOJ-02534300               JBLU-DOJ-02534304
AYW     JBLU-DOJ-02536565               JBLU-DOJ-02536567
AYX     JBLU-DOJ-02571221               JBLU-DOJ-02571266
AYY     JBLU-DOJ-02619296               JBLU-DOJ-02619302
AYZ     JBLU-DOJ-02656470               JBLU-DOJ-02656470


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Ex. #   Beginning Bates                 End Bates                       Additional Information
AZA     JBLU-DOJ-02658732               JBLU-DOJ-02658736
AZB     JBLU-DOJ-02717405               JBLU-DOJ-02717410
AZC     JBLU-DOJ-02727811               JBLU-DOJ-02727817
AZD     JBLU-DOJ-02733311               JBLU-DOJ-02733317
AZE     JBLU-DOJ-02749423               JBLU-DOJ-02749429
AZF     JBLU-DOJ-03115948               JBLU-DOJ-03115953
AZG     JBLU-DOJ-03477322               JBLU-DOJ-03477323
AZH     JBLU-DOJ-03654975               JBLU-DOJ-03655001
AZI     JBLU-DOJ-03956977               JBLU-DOJ-03956980
AZJ     JBLU-DOJ-04189310               JBLU-DOJ-04189326
AZK     JBLU-DOJ-04219657               JBLU-DOJ-04219672
AZL     JBLU-DOJ-04692935               JBLU-DOJ-04692936
AZM     JBLU-DOJ-05487087               JBLU-DOJ-05487136
AZN     JBLU-DOJ-05730183               JBLU-DOJ-05730187
AZO     JBLU-DOJ-06316400               JBLU-DOJ-06316400
AZP     JBLU-DOJ-06323141               JBLU-DOJ-06323141
AZQ     JBLU-DOJ-07065804               JBLU-DOJ-07065811
AZR     JBLU-DOJ-07130853               JBLU-DOJ-07130854
AZS     JBLU-DOJ-07210703               JBLU-DOJ-07210742
AZT     JBLU-DOJ-07255530               JBLU-DOJ-07255603
AZU     JBLU-DOJ-07341311               JBLU-DOJ-07341358
AZV     JBLU-DOJ-07428460               JBLU-DOJ-07428460
AZW     JBLU-DOJ-07506907               JBLU-DOJ-07506907
AZX     JBLU-DOJ-07533496               JBLU-DOJ-07533523
AZY     JBLU-DOJ-07606487               JBLU-DOJ-07606487
AZZ     JBLU-DOJ-07650481               JBLU-DOJ-07650481
BAA     JBLU-DOJ-07828414               JBLU-DOJ-07828434
BAB     JBLU-DOJ-07989601               JBLU-DOJ-07989607
BAC     JBLU-DOJ-09730045               JBLU-DOJ-09730065
BAD     JBLU-DOJ-09730066               JBLU-DOJ-09730089
BAE     JBLU-DOJ-09730090               JBLU-DOJ-09730096
BAF     JBLU-DOJ-09732612               JBLU-DOJ-09732619
BAG     JBLU-DOJ-09732620               JBLU-DOJ-09732620
BAH     JBLU-DOJ-10081294               JBLU-DOJ-10081326


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Ex. #   Beginning Bates                 End Bates                       Additional Information
BAI     JBLU-DOJ-10085856               JBLU-DOJ-1008585862
BAJ     JBLU-DOJ-10404703               JBLU-DOJ-10404711
BAK     JBLU-DOJ-10421471               JBLU-DOJ-10421473
BAL     JBLU-DOJ-10441773               JBLU-DOJ-10441773
BAM     JBLU-DOJ-10441774               JBLU-DOJ-10441774
BAN     JBLU-DOJ-10441775               JBLU-DOJ-10441775
BAO     JBLU-DOJ-10441776               JBLU-DOJ-10441776
BAP     JBLU-DOJ-10441780               JBLU-DOJ-10441780
BAQ     JBLU-DOJ-10578785               JBLU-DOJ-10578817
BAR     JBLU-DOJ-10607501               JBLU-DOJ-10607581
BAS     JBLU-DOJ-10611980               JBLU-DOJ-10611981
BAT     JBLU-LIT-03888523               JBLU-LIT-03888575
BAU     JBLU-DOJ-10757858               JBLU-DOJ-10758008
BAV     JBLU-DOJ-10760861               JBLU-DOJ-10760900
BAW     JBLU-DOJ-10790799               JBLU-DOJ-10790955
BAX     JBLU-DOJ-10810165               JBLU-DOJ-10810171
BAY     JBLU-DOJ-10841369               JBLU-DOJ-10841486
BAZ     JBLU-DOJ-11052387               JBLU-DOJ-110523891
BBA     JBLU-DOJ-11052392               JBLU-DOJ-11052415
BBB     JBLU-DOJ-11062736               JBLU-DOJ-11062782
BBC     JBLU-DOJ-11088781               JBLU-DOJ-11088830
BBD     JBLU-DOJ-11146023               JBLU-DOJ-11146053
BBE     JBLU-DOJ-11476117               JBLU-DOJ-11476117
BBF     JBLU-DOJ-11476119               JBLU-DOJ-11476119
BBG     JBLU-DOJ-11479104               JBLU-DOJ-11479105
BBH     JBLU-DOJ-11960866               JBLU-DOJ-11960908
 BBI    JBLU-LIT-00806240               JBLU-LIT-00806241
BBJ     JBLU-LIT-02402892               JBLU-LIT-02402940
BBK     JBLU-LIT-02715317               JBLU-LIT-02715334
BBL     JBLU-LIT-02823742               JBLU-LIT-02823745
BBM     JBLU-LIT-02878663               JBLU-LIT-02878664
BBN     JBLU-LIT-03446100               JBLU-LIT-03446111
BBO     JBLU-LIT-03513235               JBLU-LIT-03513240
BBP     JBLU-LIT-03874404               JBLU-LIT-03874407


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Ex. #   Beginning Bates                                End Bates                                   Additional Information
BBQ     JBLU-LIT-04404482                              JBLU-LIT-04404654
BBR     JBLU-LIT-04434165                              JBLU-LIT-04434166
BBS     JetBlue Airways Corporation Q1 2022 Earnings Call Transcript
BBT     JetBlue Connecting Fare Pricing Data ("Jetblue connecting fare summary data.xlsx")
BBU     JetBlue Hotel Bookings Data ("JTP_hotel_bookings-travel_date_2021_to_current_booked.xlsx")
BBV     OAG Schedule Analyzer ("nonstop_2018_JobId1763797.csv")
BBW     OAG Schedule Analyzer ("nonstop_2019_JobId1763801.csv")
BBX     OAG Schedule Analyzer ("nonstop_2022_JobId2190975.csv")
BBY     OAG Schedule Analyzer ("nonstop_2023.csv")
BBZ     Plaintiffs' Objections to Defendants' First Set of Interrogatories dated March 30, 2023
BCA     Plaintiffs' Objections to Defendants' Second Set of Interrogatories dated June 9, 2023
BCB     Plaintiffs’ Proposed Findings of Fact, United States of America, et al v. American Airlines Group Inc. and JetBlue Airways Corporation,
        Press Release: North American Airline Passenger Satisfaction Declines: Here’s Why That’s Good News, Says J.D. Power, J.D. Power (May
BCC
        11, 2022), https://www.jdpower.com/business/press-releases/2022-north-america-airline-satisfaction-study
BCD     Southwest Airlines Co. Q1 2022 Earnings Call Transcript
BCE     Southwest Airlines Co. Q1 2023 Earnings Call Transcript
BCF     Southwest Airlines Co. Q2 2022 Earnings Call Transcript
BCG     Southwest Airlines Co. Q2 2023 Earnings Call Transcript
BCH     Southwest Airlines Co. Q3 2022 Earnings Call Transcript
BCI     Southwest Airlines Co. Q4 2022 Earnings Call Transcript
BCJ     Spirit Connecting Fare Pricing Data ("Copy of connect routes latest 072023.xlsx")
BCK     Spirit Profit and Loss Data ("Specification 2(a) Response - Spirit Confidential.xlsx")
BCL     Spirit Ticket Data ("FlownFlightData_00000.txt")
BCM     Spirit Ticket Data – ("FlownFlightData_00001.txt")
BCN     Spirit Ticket Data – ("FlownFlightData_00002.txt")
BCO     Spirit Ticket Data – ("FlownFlightData_00003.txt")
BCP     Spirit Ticket Data – ("FlownFlightData_00004.txt")
BCQ     Spirit Ticket Data – ("FlownFlightData_00005.txt")
BCR     Spirit Ticket Data – ("FlownFlightData_00006.txt")
BCS     Spirit Ticket Data – ("FlownFlightData_00007.txt")
BCT     Spirit Ticket Data – ("FlownFlightData_00008.txt")
BCU     Spirit Ticket Data – ("FlownFlightData_00009.txt")
BCV     Spirit Ticket Data – ("FlownFlightData_00010.txt")
BCW     Spirit Ticket Data – ("FlownFlightData_00011.txt")


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Ex. #   Beginning Bates                                 End Bates                                   Additional Information
BCX     Spirit Ticket Data – ("FlownFlightData_00012.txt")
BCY     Spirit Ticket Data – ("FlownFlightData_00013.txt")
BCZ     Spirit Ticket Data – ("FlownFlightData_00014.txt")
BDA     Spirit Ticket Data – ("FlownFlightData_00015.txt")
BDB     Spirit Ticket Data – ("FlownFlightData_00016.txt")
BDC     Spirit Ticket Data – ("FlownFlightData_00017.txt")
BDD     Spirit Ticket Data – ("FlownFlightData_00018.txt")
BDE     Spirit Ticket Data – ("FlownFlightData_00019.txt")
BDF     Spirit Ticket Data – ("FlownFlightData_00020.txt")
BDG     Spirit Ticket Data – ("FlownFlightData_00021.txt")
BDH     Spirit Ticket Data – ("FlownFlightData_00022.txt")
BDI     Sun Country Airlines Holdings, Inc. Q1 2022 Earnings Call Transcript
BDJ     Sun Country Airlines Holdings, Inc. Q1 2023 Earnings Call Transcript
BDK     Sun Country Airlines Holdings, Inc. Q2 2022 Earnings Call Transcript
BDL     Sun Country Airlines Holdings, Inc. Q2 2023 Earnings Call Transcript
BDM     Sun Country Airlines Holdings, Inc. Q3 2022 Earnings Call Transcript
BDN     Sun Country Airlines Holdings, Inc. Q4 2022 Earnings Call Transcript
BDO     Syndicated Benchmark Study Dates and Details: North America Airline Satisfaction Study, J.D. Power (July 20, 2023),
BDP     United Airlines Q1 2022 Earnings Call Transcript
BDQ     United Airlines Q1 2023 Earnings Call Transcript
BDR     United Airlines Q2 2022 Earnings Call Transcript
BDS     United Airlines Q2 2023 Earnings Call Transcript
BDT     United Airlines Q3 2022 Earnings Call Transcript
BDU     United Airlines Q4 2022 Earnings Call Transcript
BDV     US Bureau of Transportation Statistics, “Air Carriers: T-100 Segment (All Carriers)”
BDW     US Bureau of Transportation Statistics. “Airline Origin and Destination Survey (DB1B)”
        Plaintiffs' Post-Trial Brief, United States of America, et al v. American Airlines Group Inc. and JetBlue Airways Corporation, 1:21-cv-11558-
BDX
        LTS (D. Mass.)
BDY     JBLU-DOJ-09982193                               JBLU-DOJ-09982213
BDZ     "Excel Data Master" file related to August 4, 2023 Scheff Report ("Excel Data Master.xlsx)
BEA     JBLU-DOJ-06254240                               JBLU-DOJ-06254256
BEB     AA-23LIT-00000021                               AA-23LIT-00000042
BEC     AA-23LIT-00000550                               AA-23LIT-00000580
BED     AA-NEA-00026724                                 AA-NEA-00026748


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Ex. #   Beginning Bates                  End Bates                       Additional Information
BEE     AA-NEA-00043325                  AA-NEA-00043361
BEF     AA-NEA-00068377                  AA-NEA-00068378
BEG     AA-NEA-00088678                  AA-NEA-00088684
BEH     AA-NEA-00129549                  AA-NEA-00129641
BEI     AA-NEA-00142614                  AA-NEA-00142614
BEJ     AA-NEA-00215762                  AA-NEA-00215764
BEK     AA-NEA-00373388                  AA-NEA-00373393
BEL     AA-NEA-00578465                  AA-NEA-00578527
BEM     AA-NEA-00593111                  AA-NEA-00593113
BEN     AA-NEA-00593283                  AA-NEA-00593285
BEO     AA-NEA-00604924                  AA-NEA-00604925
BEP     AA-NEA-00648837                  AA-NEA-00648838
BEQ     AA-NEA-00787635                  AA-NEA-00787662
BER     AA-NEA-01268769                  AA-NEA-01268876
BES     ALLEGIANT_00009320               ALLEGIANT_00009381
BET     AVELO-00002919                   AVELO-00002943
BEU     AVELO-00003345                   AVELO-00003447
BEV     AVELO-00003588                   AVELO-00003627
BEW     BC-B6NK-00007214                 BC-B6NK-00007214
BEX     BC-B6NK-00012259                 BC-B6NK-00012260
BEY     Broward_County_00001621          Broward_County_00001623
BEZ     Broward_County_00003942          Broward_County_00003954
BFA     Broward_County_00008688          Broward_County_00008699
BFB     Broward_County_00012557          Broward_County_00012601
BFC     Broward_County_00012647          Broward_County_00012693
BFD     Broward_County_00012745          Broward_County_00012790
BFE     DAL-00000172                     DAL-00000189
BFF     DAL-00000212                     DAL-00000268
BFG     DAL-00000216                     DAL-00000241
BFH     DAL-00000328                     DAL-00000328
BFI     DAL-00002291                     DAL-00002292
BFJ     DAL-00003103                     DAL-00003132
BFK     DAL-00003247                     DAL-00003263
BFL     DAL-00003509                     DAL-00003520


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Ex. #   Beginning Bates                             End Bates                                    Additional Information
BFM     DAL-00004153                                DAL-00004174
BFN     DAL-00005865                                DAL-00005865
BFO     DAL-00007351                                DAL-00007361
BFP     DAL-00007367                                DAL-00007367
BFQ     DAL-00022469                                DAL-00022473
BFR     DAL-00023401                                DAL-00023402
BFS     DAL-00027078                                DAL-00027079
BFT     DAL-00027203                                DAL-00027204
BFU     DL-B6NK_00021141                            DL-B6NK_00021146
BFV     DL-B6NK_00039086                            DL-B6NK_00039095
BFW     FRONTIER-000029                             FRONTIER-000032
BFX     FRONTIER-000033                             FRONTIER-000040
BFY     FRONTIER-000048                             FRONTIER-000067
BFZ     FRONTIER-000130                             FRONTIER-000143
BGA     FRONTIER-000250                             FRONTIER-000274
BGB     FRONTIER-000306                             FRONTIER-000346
BGC     FRONTIER-000347                             FRONTIER-000359
BGD     FRONTIER-CID-000013133                      FRONTIER-CID-000013136
BGE     FRONTIER-CID-000014067                      FRONTIER-CID-000014076
BGF     FRONTIER-CID-000018516                      FRONTIER-CID-000018534
BGG     Exhibit 2 to June 14, 2023 Gale Deposition
BGH     Exhibit 4 to June 14, 2023 Gale Deposition
BGI     GOA2608                                     GOA2612
BGJ     Exhibit 5 to June 23, 2023 Draper Deposition
BGK     GOAA0004                                    GOAA0006
BGL     GOAA2614                                    GOAA2614
BGM     GOAADOJ0098                                 GOAADOJ0124
BGN     GOAADOJ0125                                 GOAADOJ0175
BGO     FLL Master Plan Update - Board of County Commissioners Briefing, available at
        Chapter 4 - Demand/Capacity Assessment and Facility Requirements, FLL International Airport, available at
BGP
        https://www.broward.org/Airport/Business/Community/MasterPlan/Documents/FINAL%20DRAFT%20FLL%20MPU_Chapter%204%20F
        Frontier's Flight Expansion Unprecedented at Orlando's Airport, Orlando Sentinel, available at
BGQ
        https://www.orlandosentinel.com/2021/07/27/frontiers-flight-expansion-unprecedented-at-orlandos-airport/



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Ex. #   Beginning Bates                                End Bates                                   Additional Information
        Press Release, Frontier Announces Service at Fort Lauderdale-Hollywood International Airport With 12 Nonstop Routes, available at
BGR
        https://news.flyfrontier.com/frontier-airlines-announces-service-at-fort-lauderdale-hollywood-international-airport-with-12-nonstop-
        Press Release, Frontier Airlines Announces Major Expansion of Service to Puerto Rico, available at https://news.flyfrontier.com/frontier-
BGS     airlines-announces-major-expansion-of-service-to-puerto-rico-including-5-additional-nonstop-routes-to-san-juan-plus-new-service-to-
        aguadilla-and-
BGT     Exhibit 1 to June 20, 2023 Nelson Deposition
BGU     Exhibit 2 to June 20, 2023 Nelson Deposition
BGV     Exhibit 3 to June 20, 2023 Nelson Deposition
BGW     Exhibit 7 to June 20, 2023 Nelson Deposition
BGX     Exhibit 2 to June 28, 2023 Nocella Deposition
BGY     Exhibit 4 to June 28, 2023 Nocella Deposition
BGZ     UA31106-000003074                              UA31106-000003075
BHA     UA31106-000003859                              UA31106-000003862
BHB     UALIT-00006269                                 UALIT-00006272
BHC     UALIT-00010164                                 UALIT-00010184
BHD     UALIT-00036871                                 UALIT-00036871
BHE     UALIT-00039606                                 UALIT-00039606
BHF     UALIT-00040403                                 UALIT-00040403
BHG     UALIT-00050494                                 UALIT-00050494
BHH     UALIT-00067705                                 UALIT-00067705
BHI     UALIT-00070860                                 UALIT-00070863
BHJ     UALIT-00070957                                 UALIT-00071069
BHK     UALIT-00071070                                 UALIT-00071110
BHL     UALIT-00081315                                 UALIT-00081318
BHM     UALIT-00082222                                 UALIT-00082223
BHN     UALIT-00093921                                 UALIT-00093922
BHO     UALIT2-00004668                                UALIT2-00004817
BHP     UALIT2-00032255                                UALIT2-00032263
BHQ     UALIT2-00039211                                UALIT2-00039311
BHR     UALIT2-00044342                                UALIT2-00044389
BHS     Verified Complaint, ECF No. 1, United States v. United Continental Holdings et al., 2:15-cv-07992 (Nov. 10, 2015 D.N.J.)
BHT     Comments of the United States Department of Justice, Notice of Petition for Waiver of the Terms of the Order Limiting Scheduled
BHU     NK-2R-06776512                                 NK-2R-067765126
BHV     NK-2R-06907937                                 NK-2R-06908053


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Ex. #   Beginning Bates                End Bates                       Additional Information
BHW     NK-2R-06921810                 NK-2R-06921850
BHX     NK-2R-06921923                 NK-2R-06921978
BHY     NK-2R-06907143                 NK-2R-06907240
BHZ     NK-MERGERLIT-0000665036        NK-MERGERLIT-0000665054
BIA     NK-2R-04164067                 NK-2R-04164068
 BIB    NK-2R-05082173                 NK-2R-05082175
 BIC    NK-2R-06906032                 NK-2R-06906100
BID     NK-2R-05815303                 NK-2R-05815305
 BIE    NK-2R-04167883                 NK-2R-04167883
 BIF    NK-2R-06905968                 NK-2R-06906031
BIG     NK-2R-05856106                 NK-2R-05856148
BIH     NK-2R-01099520                 NK-2R-01099529
 BII    NK-MERGERLIT-0003366359        NK-MERGERLIT-0003366360
 BIJ    NK-2R-06906312                 NK-2R-06906393
BIK     NK-2R-05845444                 NK-2R-05845454
 BIL    NK-2R-04170627                 NK-2R-04170628
BIM     NK-2R-05299138                 NK-2R-05299142
BIN     NK-2R-05302077                 NK-2R-05302080
BIO     NK-2R-06775251                 NK-2R-06775254
 BIP    NK-2R-00725335                 NK-2R-00725340
BIQ     NK-2R-02434154                 NK-2R-02434154
 BIR    NK-2R-05845685                 NK-2R-05845685
 BIS    NK-2R-01437320                 NK-2R-01437320
 BIT    NK-2R-02432464                 NK-2R-02432464
BIU     NK-2R-06776088                 NK-2R-06776091
BIV     NK-2R-06905355                 NK-2R-06905422
BIW     NK-2R-06905776                 NK-2R-06905885
BIX     NK-2R-05062532                 NK-2R-05062532
BIY     NK-2R-06904852                 NK-2R-06904929
 BIZ    NK-2R-04709228                 NK-2R-04709228
BJA     NK-2R-06905042                 NK-2R-06905158
BJB     NK-2R-06697740                 NK-2R-06697748
BJC     NK-2R-06904930                 NK-2R-06905041
BJD     NK-2R-04612900                 NK-2R-04612900


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Ex. #   Beginning Bates                                End Bates                                   Additional Information
BJE     NK-2R-06905159                                 NK-2R-06905243
BJF     NK-2R-04589044                                 NK-2R-04589044
BJG     NK-2R-04643890                                 NK-2R-04643890
BJH     NK-2R-05652480                                 NK-2R-05652480
 BJI    NK-2R-06923373                                 NK-2R-06923374
 BJJ    NK-2R-06923368                                 NK-2R-06923370
BJK     NK-2R-06904057                                 NK-2R-06904127
BJL     NK-2R-06785993                                 NK-2R-06785997
BJM     NK-2R-06923352                                 NK-2R-06923352
BJN     NK-2R-06923350                                 NK-2R-06923351
BJO     NK-2R-05329785                                 NK-2R-05329787
BJP     NK-2R-06923348                                 NK-2R-06923349
BJQ     NK-2R-06923346                                 NK-2R-06923347
BJR     NK-2R-06923334                                 NK-2R-06923335
BJS     NK-2R-06923336                                 NK-2R-06923337
BJT     NK-2R-02501789                                 NK-2R-02501790
BJU     NK-2R-05179569                                 NK-2R-05179574
BJV     NK-2R-06330563                                 NK-2R-06330564
BJW     NK-2R-06923328                                 NK-2R-06923329
BJX     NK-2R-06923318                                 NK-2R-06923327
BJY     NK-MERGERLIT-0003534094                        NK-MERGERLIT-0003534094
BJZ     NK-2R-06871787                                 NK-2R-06871788
BKA     NK-MERGERLIT-0002444496                        NK-MERGERLIT-0002444501
BKB     https://aviationweek.com/air-transport/airports-networks/breeze-airways-adds-seats-west-virginia-after-robust-sales
BKC     https://aviationweek.com/air-transport/airports-networks/breeze-airways-adds-underserved-west-virginia-market
BKD     https://aviationweek.com/air-transport/airports-networks/breeze-airways-connects-long-island-maine
BKE     https://aviationweek.com/air-transport/airports-networks/breeze-airways-open-los-angeles-pittsburgh-airbus-a220-flights
BKF     https://aviationweek.com/air-transport/airports-networks/breeze-airways-unveils-big-summer-expansion
BKG     https://aviationweek.com/air-transport/airports-networks/breeze-avelo-increase-raleigh-durham-presence
BKH     https://aviationweek.com/air-transport/airports-networks/breeze-seeks-launch-first-international-flights
BKI     https://aviationweek.com/air-transport/airports-networks/startup-breeze-airways-bets-big-fort-myers-florida
BKJ     https://flights.flyfrontier.com/en/sitemap/flights-from-city/page-1
BKK     https://ir.allegiantair.com/news-releases/news-release-details/allegiant-announces-23-new-nonstop-routes-one-way-fares-low-39
BKL     https://ir.allegiantair.com/news-releases/news-release-details/allegiant-announces-eight-new-routes-one-way-fares-low-39


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Ex. #   Beginning Bates                               End Bates                                    Additional Information
BKM     https://ir.allegiantair.com/news-releases/news-release-details/allegiant-announces-major-service-expansion-21-new-nonstop
BKN     https://ir.allegiantair.com/news-releases/news-release-details/allegiant-announces-major-service-expansion-22-new-nonstop
BKO     https://ir.allegiantair.com/news-releases/news-release-details/allegiant-announces-major-service-expansion-34-new-nonstop
BKP     https://ir.allegiantair.com/news-releases/news-release-details/allegiant-announces-nine-new-nonstop-routes-launching-spring
BKQ     https://ir.allegiantair.com/news-releases/news-release-details/allegiant-announces-nine-new-nonstop-routes-premier-spring-break
BKR     https://ir.allegiantair.com/news-releases/news-release-details/allegiant-announces-seven-new-nonstop-routes-fares-low-29
BKS     https://ir.allegiantair.com/news-releases/news-release-details/allegiant-announces-six-new-nonstop-routes-make-sunny-summer-and
BKT     https://ir.allegiantair.com/news-releases/news-release-details/allegiant-announces-two-new-nonstop-routes-fares-low-37
BKU     https://ir.allegiantair.com/news-releases/news-release-details/responding-customer-demand-allegiant-announces-service-expansion
BKV     https://ir.flyfrontier.com/node/6366/pdf
BKW     https://ir.flyfrontier.com/node/6936/pdf
BKX     https://ir.flyfrontier.com/node/6946/pdf
BKY     https://ir.flyfrontier.com/node/6951/pdf
BKZ     https://ir.flyfrontier.com/node/7251/pdf
BLA     https://ir.flyfrontier.com/node/8226/pdf
BLB     https://ir.flyfrontier.com/node/8736/pdf
BLC     https://news.flyfrontier.com/frontier-airlines-announces-major-domestic-and-international-expansion-of-service/
BLD     https://news.flyfrontier.com/frontier-airlines-announces-major-expansion-of-service-to-puerto-rico-including-5-additional-nonstop-routes-to-
BLE     https://news.flyfrontier.com/frontier-airlines-begins-nonstop-service-from-detroit-to-san-francisco/
BLF     https://news.flyfrontier.com/frontier-airlines-begins-nonstop-service-from-houston-bush-intercontinental-to-raleigh-durham-and-phoenix/
BLG     https://news.flyfrontier.com/frontier-airlines-begins-nonstop-service-from-san-francisco-to-detroit-and-cleveland/
BLH     https://www.allegiantair.com/airports
 BLI    https://www.aveloair.com/company-news/avelo-airlines-takes-flight-for-memphis-and-rochester-with-exclusive-nonstop-service-from-the-
 BLJ    https://www.aveloair.com/destinations
BLK     https://www.aveloair.com/new-routes
BLL     https://www.aveloair.com/wp-content/uploads/2023/01/Avelo-DAY-MCO-Inaugural-Flight-Press-Release-.pdf
BLM     https://www.aveloair.com/wp-content/uploads/2023/02/Avelo-Airlines-BRO-CHO-COS-New-Routes-National-Release.pdf
BLN     https://www.aveloair.com/wp-content/uploads/2023/02/Avelo-Airlines-RDU-Base-Opening-Release-003.pdf
BLO     https://www.aveloair.com/wp-content/uploads/2023/02/Avelo-ILG-Base-Launch-Release-2-1-23.pdf
BLP     https://www.aveloair.com/wp-content/uploads/2023/03/Avelo-Airlines-BFM-MCO-Announcement-Press-Release.pdf
BLQ     https://www.aveloair.com/wp-content/uploads/2023/03/Avelo-Airlines-FCA-BUR-Announcement-PR.pdf
BLR     https://www.aveloair.com/wp-content/uploads/2023/03/Avelo-Airlines-GSP-MCO-HVN-Announcement-PR.pdf
BLS     https://www.aveloair.com/wp-content/uploads/2023/03/NATIONAL-RELEASE-Avelo-Airlines-RDU-Growing-Base-New-
BLT     https://www.aveloair.com/wp-content/uploads/2023/04/Avelo-Airlines-BZN-BUR-Announcement-PR.pdf


                                                                    D-53
                          Case 1:23-cv-10511-WGY Document 191-4 Filed 09/15/23 Page 54 of 60


Ex. #   Beginning Bates                               End Bates                                   Additional Information
BLU      https://www.aveloair.com/wp-content/uploads/2023/04/Avelo-Airlines-DAB-HVN-Announcement-PR.pdf
BLV      https://www.aveloair.com/wp-content/uploads/2023/04/Avelo-Airlines-HVN-MLBDAB-Announcement-PR.pdf
BLW      https://www.aveloair.com/wp-content/uploads/2023/04/Avelo-Airlines-MLB-HVN-RDU-Announcement-PR.pdf
BLX      https://www.aveloair.com/wp-content/uploads/2023/04/Avelo-Airlines-RDM-STS-Announcement-PR.pdf
BLY      https://www.aveloair.com/wp-content/uploads/2023/04/Avelo-Airlines-RDU-MLB-Announcement-PR.pdf
BLZ      https://www.aveloair.com/wp-content/uploads/2023/04/Avelo-ILG-Expansion-Release-4-20-23.pdf
BMA      https://www.aveloair.com/wp-content/uploads/2023/05/Avelo-Airlines-BRO-BUR-MCO-Inaugural-PR.pdf
BMB      https://www.aveloair.com/wp-content/uploads/2023/05/Avelo-Airlines-CHO-MCO-Inaugural-PR.pdf
BMC      https://www.aveloair.com/wp-content/uploads/2023/05/Avelo-Airlines-COS-BUR-Inaugural-PR.pdf
BMD      https://www.aveloair.com/wp-content/uploads/2023/05/Avelo-Airlines-FCA-BUR-Inaugural-PR.pdf
BME      https://www.aveloair.com/wp-content/uploads/2023/06/Avelo-Airlines-GSP-MCO-Inaugural-PR.pdf
BMF      https://www.aveloair.com/wp-content/uploads/2023/07/Avelo-Airlines-CWA-MCO-Annoucement.pdf
BMG      https://www.aveloair.com/wp-content/uploads/2023/07/Avelo-Airlines-SLE-LAS-BUR-Annoucement.pdf
BMH      https://www.aveloair.com/wp-content/uploads/2023/08/Avelo-HVN-SJU-Press-Release-National.pdf
BMI      https://www.aveloair.com/wp-content/uploads/2023/08/Avelo-ILG-SJU-SRQ-Release-8-10-23.pdf
BMJ      https://www.aveloair.com/wp-content/uploads/2023/09/Avelo-Airlines-Flies-1M-Customers-at-BUR.pdf
BMK      https://www.azcentral.com/story/travel/airlines/2022/08/11/breeze-airways-phoenix-flights/10288390002/
BML      https://www.flybreeze.com/shopping/en-us/
BMM      https://www.heraldextra.com/news/local/2022/aug/10/breeze-adds-two-more-routes-from-provo/
BMN      https://www.heraldextra.com/news/local/2022/may/06/breeze-airways-announces-five-daily-flights-out-of-provo/
BMO      https://www.sltrib.com/news/2022/05/06/want-catch-flight-las/
BMP     https://www.pressherald.com/2010/08/27/the-jetblue-effect_2010-08-27/
        "Frontier Airlines Orders 91 Additional A321neo Aircraft," https://ir.flyfrontier.com/news-releases/news-release-details/frontier-airlines-
BMQ
        orders-91-additional-a321neo-aircraft-tripling
BMR     ALLEGIANT_00000646                            ALLEGIANT_00000661
BMS     ALLEGIANT_DOJ_00036589                        ALLEGIANT_DOJ_00036591
BMT     Amended Complaint, United States v. US Airways Grp., Inc. & AMR Corp. , No. 13-1236 (D.D.C. Sep. 5, 2013), ECF No. 73
BMU     AS B6NK000001086                              AS B6NK000001106
BMV     AS SDC0000094                                 AS SDC0000094
BMW     AS SDC0001848                                 AS SDC0001891
BMX     AS SDC0004172                                 AS SDC0004184
BMY     AS SDC0004455                                 AS SDC0004477
BMZ     AS SDC0005033                                 AS SDC0005068
BNA     AS SDC0005467                                 AS SDC0005469


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Ex. #   Beginning Bates                             End Bates                                    Additional Information
        B6NK-CM-00006298                            B6NK-CM-00006299                             (Avelo Airlines Inc. Response to Specifications
BNB                                                                                              1(a), (b), (c) & 2 (Aug. 31, 2022))

        B6NK-CM-00006884                            B6NK-CM-00006905                             (Breeze Aviation Group, Inc. Response to DOJ
BNC
                                                                                                 CID 31109 (Sept. 6, 2022))
        B6NK-CM-00009995                            B6NK-CM-00010003                             (Letter from T. Williams to J. DiMarco (Aug. 31,
BND
                                                                                                 2022), with enclosure)
        B6NK-CM-00014085                            B6NK-CM-00014086                             (Letter from T. Mueller to J. DiMarco, Aug. 30,
BNE
                                                                                                 2022)
        B6NK-CM-00014766                            B6NK-CM-00014788                             (Email from M. Piehl to J. DiMarco (Aug. 28,
BNF
                                                                                                 2022), with attachment)
BNG     CAHI-CID-00007397                              CAHI-CID-00007398
BNH     DAL-00007216                                   DAL-00007216
BNI     Exhibit 19 to May 24, 2022 Bristow Deposition (NEA Litig.)
BNJ     Exhibit 4 to June 20, 2023 Nelson Deposition
BNK     GSA-B6NK-00000216                              GSA-B6NK-00000254
BNL     GSA-B6NK-00000255                              GSA-B6NK-00000284
BNM     https://eu.usatoday.com/story/travel/flights/todayinthesky/2016/02/22/tap-adds-two-us-routes-partners-jetblue/80750764/
BNN     https://eu.usatoday.com/story/travel/flights/todayinthesky/2017/05/31/lie-flat-seat-wars-united-adds-option-third-domestic-route/102343004/
        https://ir.allegiantair.com/news-releases/news-release-details/allegiant-announces-purchase-50-boeing-737-
BNO
        aircraft#:~:text=Press%20Release&text=LAS%20VEGAS%20%2C%20Jan.,modernize%20and%20expand%20its%20fleet
        https://ir.flyfrontier.com/node/7201/pdf
BNP
BNQ     https://ir.jetblue.com/news/news-details/2013/JetBlue-Announces-50th-Nonstop-Destination-From-Bostons-Logan-Airport-Savannah-GA-
        https://ir.jetblue.com/news/news-details/2014/JetBlue-and-EL-AL-Israel-Airlines-Announce-Plans-to-Codeshare-09-29-2014/default.aspx
BNR
        https://ir.jetblue.com/news/news-details/2020/JetBlue-Celebrates-20th-Birthday-20-Years-of-Award-Winning-Customer-Service-and-Low-
BNS
        Fares-02-11-2020/default.aspx
        https://ir.suncountry.com/news-releases/news-release-details/sun-country-airlines-adds-4-new-routes-and-extends-schedule-sale
BNT
BNU     https://ir.suncountry.com/news-releases/news-release-details/sun-country-airlines-adds-nonstop-service-minneapolis-st-maarten
BNV     https://ir.suncountry.com/news-releases/news-release-details/sun-country-airlines-announces-15-new-summer-2023-destinations
BNW     https://ir.suncountry.com/news-releases/news-release-details/sun-country-airlines-announces-new-service-melbourne-florida
BNX     https://ir.suncountry.com/news-releases/news-release-details/sun-country-airlines-extends-booking-schedule-through-mid


                                                                    D-55
                         Case 1:23-cv-10511-WGY Document 191-4 Filed 09/15/23 Page 56 of 60


Ex. #   Beginning Bates                                End Bates                                  Additional Information
BNY     https://ir.suncountry.com/news-releases/news-release-details/sun-country-airlines-extends-schedule-through-spring-2023
BNZ     https://ir.suncountry.com/news-releases/news-release-details/sun-country-provide-new-service-eau-claire-wi
BOA     https://ir.suncountry.com/static-files/128c46a7-1d16-4a2e-873c-d5efa75e0474
BOB     https://ir.suncountry.com/static-files/59105965-2945-4b09-ad49-0ebfc9e2ed22
BOC     https://ir.suncountry.com/static-files/5ffc4f7f-7300-468b-a12c-3fc7e9ab0d3f
BOD     https://ir.suncountry.com/static-files/60c7d5e7-32bc-4d08-ac9d-37f384d34c49
BOE     https://ir.suncountry.com/static-files/b12c07b3-88bf-47da-b7e8-bed3831dab0a
BOF     https://ir.suncountry.com/static-files/bc6bd314-e275-41f3-8156-227ebb56e2ae
BOG     https://ir.suncountry.com/static-files/efe72946-1228-4fc8-bc69-331535cf34d6
BOH     https://lowfaresgreatservice.com/wp-content/uploads/2022/07/the-jetblue-effect-fact-sheet.pdf
BOI     https://media.hopper.com/research/the-jetblue-effect-how-the-carrier-will-impact-prices-to-london
BOJ     https://news.jetblue.com/latest-news/press-release-details/2011/JetBlues-Boston-Service-Grows-Texas-Sized-with-Addition-of-Three-Daily-
        https://news.jetblue.com/latest-news/press-release-details/2022/JetBlues-Sky-High-Transatlantic-Experience-and-Down-to-Earth-Fares-
BOK
        Arrive-in-Boston-with-Flights-to-Both-London-Gatwick-and-London-Heathrow-04-05-2022/default.aspx
        https://news.jetblue.com/latest-news/press-release-details/2023/Hallo-Amsterdam-JetBlue-Flights-from-New-York-and-Boston-to-
BOL
        Amsterdam-on-Sale-Today/default.aspx
BOM     https://orlandoairports.net/press/2023/08/16/goaa-board-approves-preliminary-budget-and-updated-capital-improvement-plan/
BON     https://suncountry.com/route-map
BOO     https://thepointsguy.com/2017/03/delta-new-transcon-routes-upgrades/
BOP     https://www.bostonmagazine.com/news/2016/03/29/jetblue-mint-first-class-travel/
BOQ     https://www.broward.org/Airport/Business/about/Documents/FLL_stats_july_2023.pdf
BOR     https://www.businesstravelexecutive.com/news/jetblue-and-turkish-airlines-launch-codeshare-?category=travel-management-companies
BOS     https://www.businesswire.com/news/home/20160907005838/en/JetBlue-Boston%E2%80%99s-Largest-Airline%C2%A0Ramps-
BOT     https://www.cbsnews.com/boston/news/all-things-travel-emirates-jetblue-share-growth-plans-for-logan-airport/
BOU     https://www.dailymail.co.uk/travel/travel_news/article-6915435/JetBlues-new-NYC-Boston-London-services-drive-fares-12.html -
BOV     https://www.fool.com/investing/2017/11/21/delta-air-lines-is-adding-lie-flat-seats-on-more-d.aspx
BOW     https://www.icelandair.com/blog/jetblue-and-icelandair-become-codeshare-partners/
BOX     https://www.justice.gov/d9/atr/case-documents/attachments/2013/11/12/301618.pdf
BOY     https://www.justice.gov/d9/testimonies/witnesses/attachments/2016/03/09/322528.pdf
BOZ     https://www.justice.gov/sites/default/files/atr/legacy/2006/04/27/209455.pdf
BPA     https://www.justice.gov/sites/default/files/atr/legacy/2009/06/30/247556.pdf
BPB     https://www.justice.gov/sites/default/files/atr/legacy/2009/12/30/253575.pdf
BPC     https://www.justice.gov/sites/default/files/atr/legacy/2010/06/18/257467.pdf
BPD     https://www.massport.com/massport/media/newsroom/massport-el-al-israel-airlines-celebrate-inaugural-nonstop-flights-6-28-15/


                                                                   D-56
                         Case 1:23-cv-10511-WGY Document 191-4 Filed 09/15/23 Page 57 of 60


Ex. #   Beginning Bates                            End Bates                                    Additional Information
BPE     https://www.news.jetblue.com/latest-news/press-release-details/2023/JetBlue-Takes-Off-to-the-City-of-Light-Expanding-the-Airlines-Award-
        https://www.prnewswire.com/news-releases/jetblue-airways-bostons-largest-carrier-celebrates-its-first-flight-to-the-us-virgin-islands-from-
BPF
        logan-135652373.html
        https://www.prnewswire.com/news-releases/jetblue-announces-codeshare-with-japan-airlines-jal-147748025.html
BPG
BPH     https://www.prnewswire.com/news-releases/jetblue-launches-major-boston-expansion-announces-new-service-to-sarasota-bradenton-florida-
        https://www.youtube.com/watch?v=kO5NVHT5ivQ
BPI
BPJ     https://www.youtube.com/watch?v=qQYCBcNZafE&t=4s
BPK     https://www.youtube.com/watch?v=xKrgV4BN3LI
BPL     https://www.youtube.com/watch?v=ZNg2ODGQzvA
BPM     JBLU_MERGER_LIT-00046963              JBLU_MERGER_LIT-00046971
BPN     JBLU_MERGER_LIT-00079990              JBLU_MERGER_LIT-00079993
BPO     JBLU_MERGER_LIT-00096053              JBLU_MERGER_LIT-00096053
BPP     JBLU_MERGER_LIT-00225843              JBLU_MERGER_LIT-00225843
BPQ     JBLU_MERGER_LIT-01266842              JBLU_MERGER_LIT-01266845
BPR     JBLU_MERGER_LIT-01727660              JBLU_MERGER_LIT-01727665
BPS     JBLU00095767                          JBLU00095769
BPT     JBLU00919906                          JBLU00919906
BPU     JBLU00967822                          JBLU00967822
BPV     JBLU-DOJ-00274728                     JBLU-DOJ-00274729
BPW     JBLU-DOJ-02427738                     JBLU-DOJ-02427805
BPX     JBLU-DOJ-02721524                     JBLU-DOJ-02721525
BPY     JBLU-DOJ-02956577                     JBLU-DOJ-02956577
BPZ     JBLU-DOJ-03045944                     JBLU-DOJ-03045944
BQA     JBLU-DOJ-03485027                     JBLU-DOJ-03485027
BQB     JBLU-DOJ-04247211                     JBLU-DOJ-04247224
BQC     JBLU-DOJ-04636765                     JBLU-DOJ-04636770
BQD     JBLU-DOJ-06189041                     JBLU-DOJ-06189168
BQE     JBLU-DOJ-06253850                     JBLU-DOJ-06253878
BQF     JBLU-DOJ-07140741                     JBLU-DOJ-07140808
BQG     JBLU-DOJ-07295181                     JBLU-DOJ-07295261
BQH     JBLU-DOJ-07616045                     JBLU-DOJ-07616045
BQI     JBLU-DOJ-07927104                     JBLU-DOJ-07927104


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Ex. #   Beginning Bates                          End Bates                  Additional Information
BQJ     JBLU-DOJ-08587484                        JBLU-DOJ-08587484
BQK     JBLU-DOJ-08587485                        JBLU-DOJ-08587485
BQL     JBLU-DOJ-11476246                        JBLU-DOJ-11476247
BQM     JBLU-DOJ-11819796                        JBLU-DOJ-11819796
BQN     JBLU-DOJ-11819978                        JBLU-DOJ-11819978
BQO     JBLU-LIT-01591316                        JBLU-LIT-01591334
BQP     JBLU-LIT-02091913                        JBLU-LIT-02091913
BQQ     JBLU-LIT-04400989                        JBLU-LIT-04401038
BQR     JetBlue Airways Corporation Q1 2022 Earnings Call Presentation
BQS     JetBlue Airways Corporation Q1 2023 Earnings Call Presentation
BQT     JetBlue Airways Corporation Q2 2022 Earnings Call Presentation
BQU     JetBlue Airways Corporation Q2 2023 Earnings Call Presentation
BQV     JetBlue Airways Corporation Q3 2022 Earnings Call Presentation
BQW     JetBlue Airways Corporation Q4 2022 Earnings Call Presentation
BQX     MP_02648                                 MP_02650
BQY     MP_02672                                 MP_02682
BQZ     MP_02981                                 MP_02990
BRA     MP_04984                                 MP_04986
BRB     MP_06916                                 MP_07006
BRC     MP_08807                                 MP_08823
BRD     MP_08850                                 MP_08850
BRE     NK-2R-00068444                           NK-2R-00068503
BRF     NK-2R-02061290                           NK-2R-02061291
BRG     NK-2R-04677516                           NK-2R-04677565
BRH     NK-2R-06156905                           NK-2R-06156906
 BRI    NK-2R-06156906                           NK-2R-06156906
BRJ     NK-2R-06871876                           NK-2R-06871876-0005
BRK     NK-2R-07001680                           NK-2R-07001690
BRL     NK-MERGERLIT-0000690243                  NK-MERGERLIT-0000690248
BRM     NK-MERGERLIT-0003545968                  NK-MERGERLIT-0003545988
BRN     NK-MERGERLIT-0003774193                  NK-MERGERLIT-00037741935
BRO     NK-MERGERLIT-0003789419                  NK-MERGERLIT-0003789426
BRP     NK-MERGERLIT-0003789517                  NK-MERGERLIT-0003789520
BRQ     NK-MERGERLIT-0003799788                  NK-MERGERLIT-0003799791


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Ex. #   Beginning Bates                              End Bates                                   Additional Information
BRR     PA000814                                     PA000832
BRS     Press Release No. 13-1202, DOJ, Antitrust Div., Justice Department Requires US Airways and American Airlines to Divest Facilities at
BRT     Slide deck used for Plaintiffs’ opening argument in US v. American Airlines and JetBlue Airways, dated September 27, 2022
BRU     SUN-COUNTRY-000004                           SUN-COUNTRY-000006
BRV     SUN-COUNTRY-DOJ-000715                       SUN-COUNTRY-DOJ-000753
BRW     SUN-COUNTRY-DOJ-001196                       SUN-COUNTRY-DOJ-001196
BRX     SUN-COUNTRY-DOJ-001337                       SUN-COUNTRY-DOJ-001341
BRY     SUN-COUNTRY-DOJ-001441                       SUN-COUNTRY-DOJ-001443
BRZ     SWA-DOJB6NK000340                            SWA-DOJB6NK000343
BSA     SWA-DOJB6NK000963                            SWA-DOJB6NK000968
BSB     SWA-DOJB6NK000969                            SWA-DOJB6NK000974
BSC     Two Rows of JetBlue Airplane Seats
BSD     Two Rows of Spirit Airplane Seats
BSE     UALIT-00050479                               UALIT-00050479
BSF     UALIT2-00020704                              UALIT2-00020768
BSG     UALIT2-00021758                              UALIT2-00021781
BSH     UALIT2-00022050                              UALIT2-00022082
 BSI    UALIT2-00035752                              UALIT2-00035754
BSJ     UALIT2-00035755                              UALIT2-00035759
BSK     UALIT2-00035839                              UALIT2-00035841
BSL     UALIT2-00036044                              UALIT2-00036046
BSM     UALIT2-00036102                              UALIT2-00036102
BSN     UALIT2-00036359                              UALIT2-00036361
BSO     UALIT2-00036399                              UALIT2-00036401
BSP     UALIT2-00036693                              UALIT2-00036695
BSQ     UALIT2-00036768                              UALIT2-00036770
BSR     UALIT2-00037158                              UALIT2-00037163
BSS     UALIT2-00037200                              UALIT2-00037202
BST     UALIT2-00037203                              UALIT2-00037205
BSU     UALIT2-00037233                              UALIT2-00037236
BSV     UALIT2-00037237                              UALIT2-00037239
BSW     UALIT2-00037327                              UALIT2-00037329
BSX     UALIT2-00037553                              UALIT2-00037554
BSY     UALIT2-00037555                              UALIT2-00037556


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Ex. #   Beginning Bates                 End Bates                       Additional Information
BSZ     UALIT2-00037837                 UALIT2-00037839




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